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      Pro Se I (Rev. 12/16) Complaint for a Civil Case



                                               UNITED STATES DISTRICT COURT
                                                                            for the                     FILED13 MAR ~1915:21USDC·0RP
                                                           _____ District of _ _ _ __


                                                                  - - - - - Division

                                                                              )

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                                                                              )
                                                                                                     (to be filled in by the Clerk's Office)


                                                                              )
                                  Plaintiff(s)
     (Write the full name of each plaintiff who is filing this complaint.
     If the names ofall the plaintiffs cannot fit in the space above,
     please write "see attached" in the space and attach an additional
                                                                              )
                                                                              )
                                                                                      Jury Trial: (check one)    aYes □No
     page with the full list ofnames.)                                        )
                                         -v-                                  )
                                                                              )
                                                                              )
                                                                              )
                                                                              )
      (Write the fall name of each defendant who is being sued. If the
                                                                              )
      names ofall the defendants cannot fit in the space above, please        )
      write "see attached" in the space and attach an additional page         )
      with the full list of names.)



                                                         COMPLAINT FOR A CIVIL CASE


      I.         The Parties to This Complaint
                 A.         The Plaintiff(s)

                            Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                            needed.
                                       Name
                                        Street Address
                                        City and County
                                        State and Zip Code
                                        Telephone Number
                                        E-mail Address


                  B.        The Defendant(s)

                             Provide the information below for each defendant named in the complaint, whether the defendant is an
                             individual, a government agency, an organization, or a corporation. For an individual defendant,
                             include the person's job or title (if laiown). Attach additional pages if needed.


                                                                                                                                               Page I of 5
                                                                         ''
                                                                         '
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Pro Se I (Rev. 12/16) Complaint for a Civil Case


                     Defendant No. I
                                Name
                                Job or Title (if known)
                                                                                                                            .\-...I
                                 Street Address
                                City and County
                                 State and Zip Code
                                 Telephone Number
                                E-mail Address (if lcnown)


                     Defendant No. 2
                                 Name
                                 Job or Title (if lawwn)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)        tv/A
                                                                    I

                      Defendant No. 3
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number                  5D 3 - 151.-/b- 34CO
                                 E-mail Address (iflawwn)
                                                                  AJ/4
                                                                   I
                      Defendant No. 4
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if kn.own)



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II.        Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                ~ederal question                                    D Diversity of citizenship
           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question




           B.

                       1.        The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)                                                , is a citizen of the
                                                                    -----------------
                                            State of (name)
                                                                ----------------

                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name}                                                , is incorporated
                                                                    -----------------
                                            under the laws of the State of (name)
                                             and has its principal place of business in the State of (name)



                                  (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                  same information for each additional plaintiff-)

                       2.         The Defendant(s)

                                  a.         If the defendant is an individual
                                             The defendant, (name)                       , is a citizen of
                                                                        ----------------
                                             the State of (name)                       Or is a citizen of
                                             (foreign nation)


                                                                                                                              Page.3 of 5
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                                 b.        If the defendant is a corporation
                                           The defendant, (name)                                                                        , is incorporated under
                                                                             --------------
                                           the laws of the State of (name)                                                                        ' and has its
                                           principal place of business in the State of (name)
                                            Or is incorporated under the laws of (foreign nation)
                                            and has its principal place of business in (name)


                                 (Jf more than one defendant is named in the complaint, attach an additional page providing the
                                 same information for each additional defendant.)

                      3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.       Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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N.         Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.                                                  .1
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         V.         Certification and Closing

                    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
                    and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
                    unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
                    nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
                    evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
                    opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
                    requirements of Rule 11.

                    A.         For Parties Without an Attorney

                               I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                               served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                               in the dismissal of my case.


                               Date of signing:
                                                             ,,
                                                            3)13/11

                               Signature of Plaintiff
                               Printed Name of Plaintiff


                    B.         For Attorneys

                               Date of signing:


                               Signature of Attorney
                               Printed Name of Attorney
                               Bar Number
                               Name of Law Firm
                                Street Address
                                State and Zip Code
                                Telephone Number
                                E-mail Address




                                                                                                                                 Page 5 of 5
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Case: 14CV10881- Yr.2014 (Legal Name Change)
I Raziel Briah aka Scott d. Smith
Case: Federal Civil Grievance & Complaint: Washington County Oregon.
I Raziel Briah aka Scott Smith the victim in the matter, will give a brief opening statement on the matters of the
Federal Civil Grievance & Complaint against Washington County district of Oregon. The Washington County
district attorney's office, Washington County public defenders, Washington County Probation & Parole,
Washington County Sheriff's office & jail, and Washington County Police violated my rights in the year of January
2018, the reason of the elapsed time of filling this complaint is due to a break in (due proses of law) which is a
Constitutional right. The rights that were violated by these Washington County government authorities were the
American Constitutional rights, Bill of rights, Civil rights and International Human Rights under the United Nations,
reference United Nations. The Constitutional amendments 1st, 2nd, 4th , 5th , 6th , 7th, 8th, 9th, 13th, and
14th • reference United States Constitution. United Nations International declaration Of Human rights under Article
6, Article 7, Article 9, Article 10, Article 11, Article 12, Article 15, Article 17, and Article 18. Also Washington county
government authorities committed acts of gross negligence as well as forcing me into a "Poverty Trap". (Harvard
Law Confronting criminal Justice) a "Guide for policy reform" reference from pages (Intro) 1,2,3,4 also references
from pages 15, 16, and 19 attached is full draft. Also reference Lewis & Clark Criminal Justice Reform Clinic (CJRC).
Reverence cases as follows. Case in appeal#18CR01842 & Case#A167458.Case #18CR01842 & Case#A167458
Alleged victim admitted to poisoning, hitting, pushing and chocking me while saying she wanted to kill "me" Raziel
Briah aka Scott Smith the real victim" (Reference American Greed on CNBC Murderous Plot Meets Reality TV
Season 12 Episode 153) (3-12-2018) "Alleged victim Gay Alexander knowingly made false report to steal from me
and force me into poverty, reference False report alleged victim laughing during 911 call negligence on
Washington County 911 dispatcher reference: State Trooper "Nie CederBerg" federal case. Former Washington
County Police Officer "Angela Branford" (DV case tampering) reference case: "Angela Branford" accessed data for
friends DV case, also sued Washington County for discrimination. Medical malpractice reference all cases with
Corizon Health. Reference as well as "Madaline Pitkin" vs "Corizon Health". Reference all civil rights cases (
"Prisoner Civil Rights In Washington County'') follows: Case-Adolf Mandujano, Francisco Rodriguez Jr., Also
Washington County government Authorities made false statements in regards to a United Nations Non-
Government Organization (NGO) that was founded by me the victim and other members which was closed and
United Nations was notified of identity theft and the closing of the NGO back in 2015 and formally notified again in
2019 due to Washington County fictitious claims reference the United Nations.Case- Wallace v. Washington
County Jail et al, Case- Barber v. Garrett et al #3:18-cv-01257. Do to wrongful imprisonment in Washington County
Both of my Family law cases were negatively affected as well as parenting time with kids, reference Multnomah
County Case#16DR18631 Raziel Briah vs Saphoeun Ouk and Multnomah County Case#16DR18634 Raziel Briah vs
Dorothy Patrick. Also reference Multnomah County Case#16SC12259 and Case#lGPO-02480 restraining order case
with victim me, Raziel Briah vs Bounthavy Bounkhong the violent aggressor is Bounthavy Bounkhong and
defamation of business name and stole business property. Do to these violations that victimized me as an
American citizen, I was uprooted from my established residence and home to unhoused during the cold
wintertime. Forced to be in a state of extreme poverty and file chapter 7 bankruptcy. Attached is complaints from
the Oregon state bar, Oregon Medical Board, Department of Human Services claiming status of indigence as a
direct result of the unethical, inhumane and unconstitutional acts of Washington County government authorities.
This is a light basic draft of the complaint. Further documentation and information will be added via attorney.
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        -Oregon                                          Office of Public Defense Services
                                                                                      Appellate Division
                                                                                    1175 Court Street NE
                                                                               Salem, Oregon 97301-4030
                                                                                Telephone (503) 378-3349
                                                                                       Fax (503) 378-2163
January 15, 2019                                                                 www.oregon.gov/ opds

Raziel Olam Briah
6000 NE 80th Ave
Portland OR 97218

Re:    Our File No. 69175
       Washington County Circuit Court Case No. 18CR01842

Dear Mr. Briah:
                                                                                     - - - - - - ---- ~ - - - -
Enclosed is a copy of the Appellant's Opening Brief that was filed in your case on January 15,
2019. The state's Respondent's Answering Brief is currently due to be filed on July 16, 2019. I
will send you a copy of the Respondent's Brief.

Once both the Appellant's Brief and the Respondent's Briefs have been filed, the court will
schedule your case for review by a three-judge panel of the Court of Appeals. Even after your
case has been assigned to a panel of judges, it may take several weeks or even many months for a
decision in your case. I will keep you updated by letter as we proceed through each significant
stage of your appeal.

Please feel free to write or call if you have any questions about your case. This office accepts
collect phone.calls on the first and third Thursday of each month, from 9 a.m. to 12 noon, and
from 1 p.m. to .3 p.m.

Sincerely,



Kyle Krohn
Deputy Public Defender
Criminal Appellate Section

Enclosure
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             United Nations

   Universal Declaration of Human Rights
   Article 1.

   All human beings are born free and equal in dignity and rights. They are endowed with reason and conscience and
   should act towards one another in a spirit of brotherhood.

~ Article 2.


   Everyone is entitled to all the rights and freedoms set forth in this Declaration, without distinction of any kind, such
   as race, colour, sex, language, religion, political or other opinion, national or social origin, property, birth or other
   status. Purthermore, no distinction shall be made on the basis of the political, jurisdictional or international status of
   the country or territory to which a person belongs, whether it be independent, trust, non-self-governing or under any
   other limitation of sovereignty.

   Article 3.

   Everyone has the right to life, liberty and security of person.

   Article 4.

   No one shall be held in slavery or servitude; slavery and the slave trade shall be prohibited in all their forms.

 p;tide 5.

 ~one shall be subjected to torture or to cruel, inhuman or degrading treatment or punishment.
   Article 6.

   Everyone has the right to recognition everywhere as a person before the law.

 ,¥ArHde 7.

   All are equal before the law and are entitled without any discrimination to equal protection of the law. All are
   entitled to equal protection against any discrimination in violation of this Declaration and against any incitement to
   such discrimination.

   Artide 8.

   Everyone has the right to an effective remedy by the competent national tribunals for acts violating the fundamental
   rights granted him by the constitution or by law.
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  Article 9.

  No one shall be subjected to arbitrary arrest, detention or exile.

  Article 10.

  Everyone is entitled in full equality to a fair and public hearing by an independent and impartial tribunal, in the
  determination of his rights and obligations and of any criminal charge against him.

f' Artide 11.
  ( l) Everyone charged with a penal offence has the right to be presumed innocent until proved guilty according to
  law in a public trial at which he has had all the guarantees necessary for his defence.
  (2) No one shall be held guilty of any penal offence on account of any act or omission which did not constitute a
  penal offence, under national or international law, at the time when it was committed. Nor shall a heavier penalty be
  imposed than the one that was applicable at the time the pe_nal offence was committed.

  Article 12.

  No one shall be subjected to arbitrary interference with his privacy, family, home or correspondence, nor to attacks
  upon his honour and reputation. Everyone has the right to the protection of the law against such interference or
  attacks.

  Artide 13.

  (I) Everyone has the right to freedom of movement and residence within the borders of each state.
  (2) Everyone has the right to leave any country, including his own, and to return to his country.

  Artide 14.

  (1) Everyone has the right to seek and to enjoy in other countries asylum from persecution.
  (2) This right may not be invoked in the case of prosecutions genuinely arising from non-political crimes or from
  acts contrary to the purposes and principles of the United Nations.

  Article 15.

  (I) Everyone has the right to a nationality.
  (2) No one shall be arbitrarily deprived of his nationality nor denied the right to change his nationality.

  Article 16,

  (1) Men and women of full age, without any limitation due to race, nationality or religion, have the right to ma!Ty
  and to found a family. They are entitled to equal rights as to ma1Tiage, during marriage and at its dissolution.
  (2) Marriage shall be entered into only with the Free and full consent of the intending spouses.
  (3) The family is the natural and fundamental group unit of society and is entitled to protection by society and the
  State.

  Article 17.
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   (I) Everyone has the right to own prope1ty alone as well as in association with others.
   (2) No one shall be arbitrarily deprived of his property.

"'F Article 18.

   Everyone has the right to freedom of thought, conscience and religion; this right includes freedom to change his
   religion or belief, and freedom, either alone or in community with others and in public or private, to manifest his
   religion or belief in teaching, practice, worship and observance.

   Article 19.

   Everyone has the right to freedom of opinion and expression; this right includes freedom to hold opinions without
   interference and to seek, receive and impart information and ideas through any media and regardless of frontiers.

   Artide 20.

   (l) Everyone has the right to freedom of peaceful assembly and association.
   (2) No one may be compelled to belong to an association.

   Article 21.

  ( 1) Everyone has the right to take part in the government of his country, directly or through freely chosen
  representatives.
  (2) Everyone has the right of equal access to public service in his country.
  (3) The will of the people shall be the basis of the authority of government; this will shall be expressed in periodic
  and genuine elections which shall be by universal and equal suffrage and shall be held by secret vote or by
  equivalent free voting procedures.

   Article 22.

  Everyone, as a member of society, has the right to social security and is entitled to realization, through national
  effort and international co-operation and in accordance with the organization and resources of each State, of the
  economic, social and cultural rights indispensable for his dignity and the free development of his personality.

   Article 23.

  (I) Everyone has the right to work, to free choice of employment, to just and favourable conditions of work and to
   protection against unemployment.
  (2) Everyone, without any discrimination, has the right to equal pay for equal work.
  (3) Everyone who works has the right to just and favourable remuneration ensuring for himself and his family an
  existence worthy of human dignity, and supplemented, if necessary, by other means of social protection.
  ( 4) Everyone has the right to form and to join trade unions for the protection of his interests.

  Artide 24.

  Everyone has the right to rest and leisure, including reasonable limitation of working hours and periodic holidays
  with pay.

  Article 25.
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(l) Everyone has the right to a standard of living adequate for the health and well-being of himself and of his family,
including food, clothing, housing and medical care and necessary social services, and the right to security in the
event of unemployment, sickness, disability, widowhood, old age or other lack oflivelihood in circumstances
beyond his control.
(2) Motherhood and childhood are entitled to special care and assistance. All children, whether born in or out of
wedlock, shall enjoy the same social protection.

Article 26.

( l) Ever:yone has the right to education. Education shall be free, at least in the elementary and fundamental stages.
Elementary education shall be compulsory. Technical and professional education shall be made generally available
and higher education sh.all be equally accessible to all on the basis of merit.
(2) Education shall be directed to the full development of the human personality and to the strengthening of respect
for human rights and fundamental freedoms. It shall promote understanding, tolerance and friendship among all
nations, racial or religious groups, and shall further the activities of the United Nations for the maintenance of peace.
(3) Parents have a prior right to choose the kind of education that shall be given to their children.

Artide 27.

(I) Everyone has the right freely to participate in the cultural life of the community, to enjoy the arts and to share in
scientific advancement and its benefits.
(2) Everyone has the right to the protection of the moral and material interests resulting from any scientific, literary
or artistic production of which he is the author.

Article 28.

Everyone is entitled to a social and international order in which the rights and freedoms set forth in this Declaration
can be fully realized.

Article 29.

(I) Everyone has duties to the community in which alone the free and full development of his personality is
possible.
(2) In the exercise of his rights and freedoms, everyone shall be subject only to such limitations as are determined by
law solely for the purpose of securing due recognition and respect for the rights and freedoms of others and of
meeting the just requirements of morality, public order and the general welfare in a democratic society.
(3) These rights and freedoms may in no case be exercised contrary to the purposes and principles of the United
Nations.

Article 30.

Nothing in this Declaration may be interpreted as implying for any State, group or person any right to engage in any
activity or to perfo1111 any act aimed at the destruction of any of the rights and freedoms set forth herein.
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          Oregon                          Bar
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1/29/2019 11:02:02 AMTo: Raziel Briah

Following is a record of your complaint filed with the Orego"! State Bar.
Please retain this for your records.

Name and Address of COMPLAINANT

Mr Raziel Briah
6000 NE 80th Ave
poretland, OR 97218
Primary Phone: 971-238-4633
Secondary Phone:
Email: Razie1Briah777@gmail.com


Name and Address of ATTORNEY

Ms Tyler Bissette: Washington County District Attorney
150 N 1st Ave Suite 300
Hillsboro, OR 97124
Primary Phone: (503) 846-8671
Secondary Phone:


COMPLAINT

From Jan 2018 to Mar. 2018 Tyler Bissette was district attorney and prosecutor of my case. Tyler
Bissette was unethical in many ways. There was "charge stacking" numerous instances of the same
charge. My address was out of Washington County Jurisdiction in Hillsboro, I lived in Portland
Oregon at the time and the Portland police or Multnomah County police normally come to the
apartment not the Washington County police from Hillsboro. No jurisdiction, false evidence, no
physical evidence, perjury, illegal search and seizure, past my 60 days speedy trial I did not "wave
time" so my rights were violated. Tyler Bissette made numerous fictitious claims that were flat out
lies to the jury. She knew there was no jurisdiction in Hillsboro and prosecuted me anyway. She lied
and said I had a gun and I never had a gun nor was one in the discovery. Tyler Bissette endorsed and
advocated for the misconduct of the Washington County police and there false evidence that was
fabricated and spray painted and fake pictures that were not real were allowed to be shown as
factual evidence. Also Tyler Bissette didn't release my discovery until two weeks before my trial with
malicious and deceitful intent. Many times Tyler Bissette tried to coerce me into taking a plea deal
and extending time on multiple occasions that I declined. Tyler Bissette never offered any diversion
for the misdemeanor offense which is standard on the charges that were against me at that time,
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and pleaded with the judge to get me six years on misdemeanor charges for retaliation for not
taking her coerce plea deal and extension of time outside my speedy trial 60 days. She demanded I
pay outrageous amounts of fines and fees around $7,000 on misdemeanors. Tyler Bissette
committed and uses unethical tactics and or endorsed for malpractice and the violation of my civil
rights & U.S constitution amendments such as the 4th,Sth,6th,7th,8th,14, amendments were
violated & human rights were violated as well. Tyler Bissette deliberately committed mal practice,
abuse of power, malfeasance and violations of my rights. Tyler Bissette had a prepacked jury and
didn't allow me to properly pick the jurors I wanted which is my right to a fair trial by the jury of my
peers which I couldn't pick. Tyler Bissette is responsible for civil rights violations, malpractice,
unethical practices, and violations of constitutional rights. Tyler Bissette should not be allowed to
practice law. Tyler Bissette told me with her own mouth that Washington County has a 95%
conviction rate. I'm a victim of Tyler Bissette illegal and unethical practices in Washington County
solely to make herself look good and keep up her so called high conviction rate, by any means
necessary. Even if it's by coercion, false evidence, illegal search or seizures and violating the general
public's civil & human rights. I am certain I am not the only victim of Tyler Bissette.


ATTACHMENTS

()regonStat~Bar l'.16037 SWUpper.Boones·Ferry                I Tigard, Oregon ~7224
                                                                                          - - - - -..   '·•
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          Oregon                          Bar
-----·~-- --·---.  -         --·----~---- ___ ----~, - ----~----·-~-·. --- ---·----- --------- -·------------·-----~- ···---
                                                      ,


l/29/2019 10:14:37 AMTo: Raziel Briah

Following is a record of your complaint filed with the Oregon State Bar.
Please retain this for your records.

Name and Address of COMPLAINANT

Mr Raziel Briah
6000 NE 80th Ave
Portland, OR 97218
Primary Phone: 971-238-4633
Secondary Phone:
Email: Razie1Briah777@gmail.com


Name and Address of ATTORNEY

April Vates: Metropolitan Public Defenders
400 E. Main ST. Suite 210
Hillsboro, OR 972123
Primary Phone: 503-726-7900
Secondary Phone:


COMPLAINT

From January 2018 to March 2018 I was assigned a defense attorney named April Yates, with the
metropolitan public defenders located in Hillsboro or Washington County. April Yates literately did
nothing to represent me. She was an inadequate lawyer. She never addressed issues such as my
address was out of Washington County Jurisdiction in Hillsboro, I lived in Portland Oregon at the
time and the Portland police or Multnomah County police normally come to the apartment not the
Washington County Police from Hillsboro. She didn't defend against the issues of no jurisdiction,
false evidence, no physical evidence, perjury, illegal search and seizure, past my 60 days speedy trial
I did not "wave time" so my rights were violated and she never called or subpoenaed my five
witnesses that would have been critical role to my trial. Also April Yates endorsed the fictitious
claims the district attorney made, April Vates sided with the district attorney not me her client. I was
deliberately deceived and patronized by my attorney April Yates. April Yates bamboozled me on my
trial date do to she lied about doing things like calling witnesses going over the false evidence and
other things and it was all smoke and mirrors and was nothing more than a delicate balancing act of
malpractice. I asked many times for new council do to I thought she was inadequate and she refused
multiple times to turn the case over to another lawyer. Also there was an issue were I was not able
to pick my jury properly. The jury was basically already picked and I had little to no participation in
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the jury assignment or picking. I told April Yates about the jury issue she shrugged her shoulders and
made a sarcastic frowned face. Also the whole time it was hard to get a hold of her left multiple VM
and Written letters and little to no response. I informed metropolitan public defenders located in
Hillsboro and the response was April Yates has done nothing wrong. Also metropolitan public
defenders located in Hillsboro sent a letter after I fired and had to represent myself on my trial date
is that I voluntary let her go despite me asking over a period of 62 days for another attorney. I was
told by her that my case was not a priority to her from her own words out her mouth. April Yates
endorsed for malpractice and the violation of my civil rights & U.S constitution amendments such as
the 4th,Sth,6th,7th,8th,14, amendments were violated & human rights were violated as well. April
Yates deliberately committed mal practice, abuse of power, malfeasance and violations of my rights.
A lawyer also has a responsibility to protect and serve their client. If the client is a defendant in a
case, they have a right to a speedy trial as well as adequate representation by their lawyer. The
lawyer appointed to or hired by the defendant should abide by the policies of the legal system,
which were created to ensure justice for the defendant. April Yates did malpractice, leaked client
confidently. April Yates acted unethical and attempted on many accusations tried to coerce me into
signing for an extension of time outside the 60 day speedy trial because the district attorney asked
her to. Also she coerces me to take a plea deal multiple times which I declined. April Yates was in
cahoots and colluding or conspiring together secretly with the district attorney. I believe April Yates
has many more victims of malpractice and unethical tactics other than me.


ATTACHMENTS
                 - - - ,._" • --------,,,~----,~--,,.....,._-··••------.-,.----· --~r- --~--•- ,---,.~•~<'-•, --•-
Oregon S~ate ~ar J 1g037 SW Upper Boor:ies Ferry Road J Tigard, Or~gori 97224.•
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                                      Complaint Form
                                               Revised 9/2017




This form may be used to file a complaint with the Oregon Medical Board regarding care
provided by the following medical practitioners: Medical Doctors, Doctors of Osteopathic
Medicine, Podiatrists, Physician Assistants, and Acupuncturists. Please note: the Oregon
Medical Board does not have jurisdiction over Nurses, Nurse Practitioners, Medical
Assistants, medical office staff, hqspitals, or clinics.

A complaint may also be filed without using this form by submitting a detailed written
letter to the Board summarizing your complaint.

If you chose to use this Complaint Form, please complete the following information. Please
attach any photocopies of documents, including medical records if available, that are
pertinent to your complaint. State in detail all facts which you believe justify your complaint.
Use additional paper as necessary.

1) Name of Complainant (Your Name):
   First: Raziel                             Middle: Olam                   Last: Briah
                                                                                    ---------
   Address: 6000 NE 80th AVE
   City: Portland                                               State: OR       Zip: _9_72_1_8_ _--,-_ __
   Date of birth: 03/30/1 985       Relationship to Patient:_S_e_lf_ _ _ _ _ _ _ _ _ _ __
   Home Phone: - - - - - - - Cell Phone: (971) 238-4633                             Fax: - - - - - - -
   E-mail Address: Razie1Briah777@gmail.com

2) Name of Patient (if not complainant above):
   First: Self N/A                           Middle:                        Last:
                                                          -----                     ---------
   Address:------------------------------
   City: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ State: _ _ _ Zip: _ _ _ _ _ _ __
   Date of birth: - - - - - - Phone:- - - - - - - - - - - - - - -

3) Complaint Against:
                        Doctor of
    Medical           Osteopathic                                        Physician
    Doctor              Medicine              Podiatrist                 Assistant         Acupuncturist
      @                    0                     0                          0                    0
   Provider Name - First: Kimilia                       Middle: Jenae           Last: -
                                                                                      Kent
                                                                                        -------
   Address: 5257 NE Martin Luther King Jr Blvd Suite 201
   City: Portland                                               State: OR       Zip: _9_7_2_11_ _ _ _ __
   License Number (if known): RPH-0015729                       Phone: _;_(5_0_3_)_67_6_-_37_1_0_ _ _ _ _ __




               Oregon Medical Board I 1500 SW 1st Ave, Suite 620 I Portland, Oregon 97201
                        971.673.2700 or 877.254.6263 I www.Oregon.Gov/OMB
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w                                        Complaint Form

  4) Specific Information about your Complaint:
                                                    Revised 9/2017




  a. What are the dates that the       rovider in     uestion cared for
  July.2017-Dec.2017


  b. Have you contacted the provider directly about your complaint?                   @Yes            QNo
         If so what action if an was taken?
  I E-mailed.
  raziel briah <razielbriah 777@gmail.com>
  Oct 26, 2017, 12:00 PM
  to kimilia.kent kimilia.kent@empowermentclinic.com

  Sent Mutiple e-mails to her and talked with her for many months and still no medication.


  c. Did any other provider(s) treat you/patient after the alleged incident? @Yes                     QNo
        If YES, please specify names and address of other providers:
  Docters at AFC Ugent Care 5 NW 23rd Pl, Portland, OR 97210.




  d. Have you/patient been treated at any hospitals or urgent care facilities related to this
  complaint?         @Yes             Q No
        If YES,   lease identif the facilit name and address as well as the date of treatment
  Legacy Good Samaritan Medical Center: 1015 NW 22nd Ave, Portland, OR
  9721 0Emergency Room. In Nov & Dec. 2017




  e. Have you filed this complaint elsewhere?  QYes       @No
  .     If yes, where? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,


  rM                                                                                                    1

        What action was or is being taken?
  Nothing was resolved only got the run around from mutiple people at the
  Empowerment Clinic 5257 NE Martin Luther King Jr Blvd Suite 201, Portland, OR
  97211




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                           971.673.2700 or 877.254.6263 I www.Oregon.Gov/OMB
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                                     Complaint Form
                                             Revised 9/2017



5) Please describe your complaint in detail below (use additional paper if necessary):
 Around year 2015-2016 I got a mental health diagnosis from Dr. Stephanie M.
Lopez. I was asked multiple questions and the intake and assessment lasted 3
hours. I had a past diagnosis of some conditions already. I received the "original"
report and it was nothing more than a fictitious and incorrect diagnosis. It stated I
was bipolar and possible multiple personality disorder as well as possible
schizophrenia. None of these allegations were correct and multiple doctors and my
second opinion by another doctor stated that the diagnosis of Dr. Stephanie M.
Lopez was fabricated and made for the sole purpose of defamation of my character.
The report had stuff we never even talked about in the assessment. It said I was a
violent person and mentally unstable and a threat to the general public. This
assessment affected me because it's still on file, and when I seek medical services
other doctors ask about the old report and take note of it even though the findings
are inaccurate and factious. Literality made up some random stuff and biased based
assessment that forces me to restore credibility in mental health.




   I certify that the above information is true to the best of my knowledge.




   To submit this complaint to the       r , please print this document and mail it to the Board
   at the following address:
                                       Oregon Medical Board
                                     1500 SW ist Ave, Suite 620
                                         Portland, OR 97201



             Oregon Medical Board I 1500 SW 1st Ave, Suite 620 I Portland, Oregon 97201
                      971.673.2700 or 877.254.6263 I www.Oregon.Gov/OMB
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                                     Complaint Form
                                              Revised 9/2017



4) Specific Information about your Complaint:
a. What are the dates that the provider in question cared for you/patient?
~ear of 2015-2016


b. Have you contacted the provider directly about your complaint?                @Yes           QNo
      If so what action (if anvl was taken?
Yes I called left several VM. Also E-mailed Her.




c. Did any other provider(s) treat you/patientafter the alleged incident? QYes                  @No
      If YES, please specify names and address of other providers:
N/A




d. Have you/patient been treated at any hospitals or urgent care facilities related to this
complaint?       Q Yes            @ No
      If YES, lease identif the facilit name and address as well as the date of treatment
N/A




e. Have you filed this complaint elsewhere?                     QYes            @No
~-~Ify_g~ where?

r/A
      What action was or is being taken?
There has been no closure to this action.




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                       971.673.2700 or 877.254.6263 I www.Oregon.Gov/OMB
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                                     Complaint Form
                                              Revised 9/2017



5) Please describe your complaint in detail below (use additional paper if necessary):
I started services at the "Empowerment Clinic" 5257 NE Martin Luther King Jr
Blvd Suite 201, Portland, OR 97211. I had Dr. Kimila Jeanae Kent as a mental
health specialist in July 2017 to Dec. 2017. I had many assessments with her in
regards to my mental health diagnoses and medication treatment. I was promised
medication management and counseling at the Clinic. I was told all my worries and
past issues with doctors would come to an end with her. It sounded like a dream;
however it turned out to be a nightmare. I was given the run around for 6 months. I
was promised medication and she never prescribed me anything. All she did was
request a blood test that had nothing to do with my mental health program. For 6
months I endured severe mental pain and anguish. She ignored my calls and never
responded to my VM or E-mails. I had to go to my primary care at AFC Urgent Care
NW: Portland 25 NW 23rd Pl, Portland, OR 97210 503-305-6262 to get bridge
medications for mental health. My primary doctor had questions on why I was never
receiving medication from my mental health provider Dr. Kimila Jeanae Kent and
why she never prescribed me anything ever and they said its quote "concerning" .
I also had to get medication through Legacy Good Samaritan Medical Center:
Emergency Room 1015 NW 22nd Ave, Portland, OR 97210 503-415-5600. The
experience from Kimila Jeanae Kent seemed to be unprofessional and feel she
deliberately made up fictitious claims for the purpose of defamation of character. I
suffered by the hands of horrible doctor that refused to prescribe any medications
resulting 'in personal injury.




   I certify that the above information is true to the best of my knowledge.




   To submit this complaint tot
   at the following address:
                                        Oregon Medical Board
                                      1500 SW ist Ave, Suite 620
                                          Portland, OR 97201



              Oregon Medical Board I 1500 SW 1st Ave, Suite 620 I Portland, Oregon 97201
                       971.673.2700 or 877.254.6263 I www.Oregon.Gov/OMB
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                                                            I

                  J
                                            F
                                            E




September 2016                                      HARVARD          LAW   SCHOOL
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Law Center (NCLC).

This project includes three parts designed to assis:t attorneys and advocates working on reform of
criminal justice debt:
m Confronting Criminal Justice Debt: The Urgent Need for Comprehensive Reform (CJPP and NCLC),

.: Confronting Criminal Justice Debt: A Guide for Litigation (NCLC), and
m Confronting Criminal]ustice Debt: A Guide for Policy Reform (CJPP).



For more information, please visit:

Criminal Justice Policy Program at Harvard Law School at: htrp:// cjpp.law.harvard.edu
National Consumer Law Center at: http://www.ndc.org/issues/crirninal-just:ice.html




CRIMINAL JUSTICE ABOUT THE CRIMINAL JUSTICE
POLICY PROGRAM POLICY PROGRAM
HARVARD          LAW     SCHOOL       The Criminal Justice Policy Program (CJPP) at Harvard Law
                                      School conducts research and advocacy to support criminal
justice reform. It generates legal and policy analysis designed to serve advocates and policymakers
throughout the country, convenes diverse stakeholders to diagnose problems and chart concrete reforms,
and collaborates with government agencies to pilot and implement policy initiatives.
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1. INTRODUCTION
A Two-Tiered Criminal Justice System

Across the country, onerous fines and fees pose a fundamental challenge to a fair and
effective criminal justice system. By disproportionately burdening poor people with
financial sanctions, and by jailing people who lack the means to pay, many jurisdictions
have created a two-tiered system of criminal justice. Unchecked, these policies drive
mass incarceration. Excessive fees and fines needlessly enmesh poor people in the crimi-
nal justice system by spawning arrests, court proceedings, periods of incarceration, and
other modes of supervision for those who lack the ability to pay. Criminal justice debt
also contributes to mass incarceration by destabilizing people living at the economic
margins and by impeding reentry of formerly incarcerated people who face impossible
economic burdens, leading to cycles of poverty and imprisonment. 1

Monetary sanctions often serve purposes that have nothing to do with advancing the
values typically associated with criminal justice. Although fines are designed to act as
punishment or a deterrent,fees do not advance the traditional purposes of the criminal
justice system. Rather, fees are often authorized by state legislatures as a means to gen-
erate revenue to fund courts or other government functions without raising taxes. In
many jurisdictions, court costs and surcharges fund the agencies responsible for impos-
ing fees and fines on individuals. 2

Though court debt is often justified as a means of shifting the costs of the criminal jus-
tice system to those who "use" that system, that justification is flawed: the legal system
is a public good that benefits all members of the community and thus should be funded
from general revenue. Moreover, funding the court system through monetary sanctions
can create pressure to raise increasing revenue through the courts. When states and
localities use courts to fill gaps in their budgets, this leads to perverse incentives and
erndes public trust in the judicial system. 3

The financial and social costs associated with criminal justice debt have had a disparate
impact on the poor and people of color. 4 Several factors drive these disparities. Among
other things, when minor violations, such as driving with an expired registration or
having an open container of alcohol, are disproportionately enforced in Black or Latino
communities, these concentrated encounters with law enforcement lead to racial dis-
parities in the imposition of fees and fines. More broadly, structural factors that lead to
racial disparities throughout the criminal justice system5 will generate uneven enforce-
rnent of fees and fines. And because race intersects with class, 6 with Black and Latino
families disproportionately facing poverty, fees and fines that impose special hardships
on impoverished individuals and communities will reinforce racially unequal outcomes.




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    When protests erupted in Ferguson, Missouri, after a police officer shot and killed
    Michael Brown, the Department ofJusrice's investigation revealed troubling practices
    by local authorities. The Ferguson Report vividly described how the municipality used
    its court system to generate revenue in a way that disproportionately burdened African
    Americans. The imperative to raise revenue was pervasive: one local official asked the
    chief of police to increase ticketing for traffic and minor ordinance violations in response
    to "a substantial sales tax shortfall." 7 At the same rime, policing and court practices in
    that jurisdiction had a disparate impact on African Americans residents - not only were
    African Americans stopped and searched by police at a higher rate than other residents,
    but they were also more likely to be issued multiple citations, have their cases persist for
    longer, face more mandatory court appearances, and have warrants issued for failing to
    meet court-ordered obligations. 8 African Americans were also more likely to be issued
    citations that involved a high degree of discretion by local law enforcement. Although
    67% of Ferguson residents are Black, African Americans received 95% of the Manner of
    Walking in Roadway charges and 94% of Failure to Com 1 char es. 9

      1e Ferguson Report highlighted the way that policing practices and routine court-
    room procedures led African Americans to face higher fines, more warrants for failing
    to pay criminal justice debt, and greater exposure to the criminal justice system, but
    these problems are nor unique to Ferguson. A recent California study found "statisti-
    cally significant racial and socioeconomic disparities," in traffic stops, license suspen-
    sions for failure to pay criminal justice debt, and arrests for driving with a suspended
                       ·s arities are reflected in ractices around the counrry. 11

    In addition to these profound consequences for the fairness of the legal system, poli-
    cies for imposing and enforcing criminal justice debt often do not make financial sense.
    One of the reasons for the proliferation of criminal justice debt is the perception by
    many policymakers at all levels of government that financial sanctions are necessary
    to fund the criminal justice system. 12 For reasons described in greater detail below, the
    dependence of courts and other government actors on criminal justice debt is itself part
    of the problem. It can distort governmental decision-making in individual cases by cre-
    ating conflicts of interests when judges, police officers, or other criminal justice actors
    make decisions driven by revenue-raising considerations. This can also create a vicious
    cycle, where courts, jails, probation agencies, and others whose budgets draw from these
    revenue streams worry about the consequences of reducing the flow of court-generated
    revenue. Faced with these pressures, legislatures may resist policy changes that remove
    a major funding mechanism.

    But the perceived benefits of relying on revenue generated from criminal defendants
    are often illusory. Most states do not collect data on criminal justice debt at all. If they




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do, they only look at the amount of revenue collected without measuring the cost of
collection or the burdens on the justice system that follow from aggressive enforcement
of criminal justice debt. 13 As a result, even from a purely fiscal perspective, criminal
justice debt may not provide jurisdictions with net economic benefits. Moreover, as a
method of funding government, fines and fees act as a regressive tax, with those who
can least afford to pay facing the greatest liabilities. And jailing people for non-payment
of debt that they are too poor to afford violates the Constitution, a consideration that
has inherent weight and that also imposes yet another layer of financial costs: jurisdic-
tions across the country have faced expensive lawsuits for jailing people who are unable
to pay criminal justice debt. 14

Because a well-functioning justice system generates broad-based social benefits, fund-
ing that system should be prioritized through ordinary budgetary processes rather than
reliance on financial obligations enforced by courts or police. Yet the perceived necessity
of deriving revenue through criminal justice debt raises a cautionary note for reformers:
solutions that eliminate real or perceived funding streams for important governmental
functions will have to include viable fiscal alternatives.

Growing Attention to Criminal Justice Debt

Criminal justice debt-and the unjust and inefficient outcomes it can spawn--has
gained increasing attention in recent years. Advocacy groups have done important
work to reveal how criminal justice debt leads to people being jailed based on their
poverty, impedes the reentry of people released from incarceration, ensnares indigent
defendants in deeper cycles of poverty, and perpetuates costly and inefficient practices
throughout the justice system. 15 Legal scholars and social scientists have condticted
empirical research on the scale of the problem and the structural consequences of
improper use of criminal justice debt. 16 A string of civil rights lawsuits throughout the
country has highlighted the problem, telling vivid stories of individual injustice, expos-
ing unconstitutional practices, and spurring local reforms. 17 The federal government
has also pressed for systemic policy changes at the state and local level. 18

This expanding coalition of advocates, researchers, and government actors has created
an environment ripe for reform. Monetary sanctions are ubiquitous in the criminal jus-
tice system, arid the harms they impose can be deeply entrenched. But recent efforts by a
broad range of actors have shined a spotlight on these problems. This guide is intended
to support advocates and policymakers seeking to translate this new momentum into
meaningful policy reforms.




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    Purpose of the        uide

    This guide is intended for advocates and policymakers working at the state level to
    cure the harms associated with criminal justice debt. It outlines approaches that may
    be directed at numerous statewide actors: legislatures, chief judicial officers or judicial
    administrators, and executive agencies. Not every approach outlined here is designed to
    be used in every context-rather this guide identifies the kinds of harmful practices that
    should be targets of reform and outlines proposed policies that might be implemented.
    It should be seen as a toolkit: Policymakers and advocates should select specific reforms
    based on the existing practices in their state and the different opportunities afforded by
    particular institutional actors.

    In setting out potential avenues of reform, this guide focuses on changes that can be
    implemented on a statewide basis. It is crucial to recognize, however, that the problems
    associated with criminal justice debt are often intensely local: 19 conflicts of interest may
    arise when municipalities depend on fees and fines for local revenue; local actors may
    develop their own approaches to imposing financial sanctions, through a combination
    of formal policy and unwritten practice; local police departments may structure their
    enforcement priorities with a view toward revenue-raising, often resulting in racial dis-
    parities; and laws applying procedural safeguards may be inconsistently implemented in
    different courtrooms across a state or even within a particular jurisdiction. Advocates or
    policymakers in any particular state must be alert to these local dynamics.

    This guide focuses on statewide mechanisms of reform, rather than changes geared
    coward counties, municipalities, or individual courthouses, for three related reasons.
    First, even where local practices vary, in most cases the underlying legal authorities for
    imposing and enforcing debt will be rooted in state law. Second, working locality-by-
    locality co address problems on a hyper-local basis may prove Sisyphean-the process
    of investigating each local entity, devising reforms, and having them enacted is far too
    time-intensive to realistically allow for reform in every locality that warrants it. (For
    example, St. Louis County--which has become a national focal point with respect to
    criminal justice debt-consists of 90 individual municipalities. 20 ) Third, the existence of
    such local variation suggests that exclusively local reform may not prove durable-the
    same dynamics that have caused localities to undertake their own practices in the past
    may lead to drift in the future unless there are strong mechanisms to ensure uniform
    best practices. For these reasons, this guide focuses not only on how to put in place
    appropriate statewide legal norms, but also on how to create mechanisms for institu-
    tionalizing consistent application of those norms across a state.

    This guide is organized around four overarching areas of potential reform. For each
    area, it provides an overview of the issue as well as several reform strategies that might
    be implemented through legislation, court rules, or executive action. The four areas are:


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.,; Conflicts of interest: One of the most unsettling revelations in the Justice Depart-
    ment's Ferguson investigation was the deep and pervasive conflicts of interest facing
    actors throughout that city's criminal justice system. Simply put, municipalities and
    courts used fees and fines, enforced by the coercive power to of the criminal justice
    system, to secure government revenue. These financial incentives drove the system's
    approach to law enforcement. Such conflicts of interest are not unigue to Ferguson.
    Throughout the country, courts and other government actors face pressure to bring
    revenue into their own operating budgets through the imposition and enforcement
    of criminal justice debt. These incentives distort outcomes and undermine the pub-
    lic's faith in the system. This guide outlines several approaches for eliminating those
         tW::.t&m:::m-fSJ.:•est.
      Poverty penalties and poverty traps: Criminal justice debt, and the elaborate enforce-
   .. ment machinery often used to collect,it, can have spiraling consequences for the most
      economically marginalized individuals. In some instances, enforcement of these obli-
      gations has the paradoxical effect of constraining an individual's ability to earn a
      living, thus undercutting the person's ability to pay court costs while ensnaring her
      and her family in a cycle of poverty and indebtedness. Other policies attach cascading
      costs and penalties to the collection practices geared toward indigent defendants, ere- ·
      ating a situation where the poor systematically pay more. This guide discusses how to
      identify policies that operate as poverty traps or penalties and proposes reforms that
        ould reverse those effects.
                               rnnat1on: Too often, courts impose financial obligations that
       are simply beyond a defendant's capacity to ever meet. Constitutional law prohibits
       jailing defendants for non-payment of debts they cannot afford, which means courts
       must make an inquiry into a person's ability to pay before depriving them of liberty for
       non-payment. Sound policy considerations counsel in favor of robust procedures for
       conducting such determinations not only at the enforcement stage but also when
       financial obligations are imposed. This guide outlines the baseline constitutional
       requirements and describes several best practices for ensuring such determinations
       are efficient and fair.
<'.I   Transparency and accountability: All of the reform strategies outlined in this guide
       will benefit from robust transparency measures that allow policymakers, advocates,
       researchers, journalists, and individual criminal defendants to understand exactly
       how court debt operates. Transparency in this context means laws designed to ensure
       data collection by government actors about the functioning of court debt (including
       its racial impact), analysis and disclosure of system-wide practices, and opportuni-
       ties for individuals to request and receive documents reflecting policies and practices
       relating to criminal justice debt.




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    A Note on Terminology

    For purposes of clarity and simplicity, the array of financial obligations that accom-
    pany encounters with the criminal justice system are referred to collectively as "criminal
    justice debt." 21 Scholars and advocates have also referred to these obligations as "legal
    financial obligations (LFOs)," 22 "monetary sanctions," 23 or just "fines and fees." 24 Some
    advocates refer to the impact of these fine and fees as "debtors' prisons" or "modern-day
    debtors' prisons." 25

    Additionally, at various points, this toolkit will discuss specific types of criminal justice
    debt in greater detail. Relevant terms are set out below:
    r.m    Fines are financial obligations imposed as a penalty after a criminal conviction or
           admission of guilt to a civil infraction.
    Ill    Fees (or user fees) are financial obligations imposed as a way for jurisdictions to recoup
           coses of the "use" of the criminal justice system, including costs associated with
           public defenders, incarceration, probation supervision, GPS monitoring, and court
           proceedings.
    El     Surcharges are financial obligations, either a flat fee or a percentage added to a fine,
           imposed to fund a particular government function or a general fund.
    r.     Interest and penalties are financial obligations and additional costs that accrue based
           on staggered payment plans, late payment, or non-payment of criminal justice debt.
    llil   Restitution refers to financial obligations intended to compensate victims of a crime
           for their actual losses. Restitution is typically understood to consist of money actu-
           ally transmitted to individual victims of crime, but in some instances it is in fact paid
           to government-run victims' funds or to reimburse government agencies or insurance
           companies.



    2. CONFLI                 OF INTEREST

    The dependence of courts and other government agencies on revenue derived from
    criminal defendants can generate profound conflicts of interest. Individual decision-
    makers throughout the criminal justice system operate according to incentives that may
    encourage unnecessarily harsh outcomes for criminal defendants. This dynamic is espe-
    cially pronounced where there is a direct link between a criminal justice agency-a court
    system, police department, prosecutors' office, or probation department-and the flow
    of revenue derived from fees or fines. In such instances, individual case outcomes may
    be driven by the desire to raise revenue, with the most severe consequences for defen-
    dants who are least able to afford those financial sanctions. The effects of these conflicts




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of interest extend beyond individual cases. They can undermine the legitimacy of the
justice system by supporting the perception that the legal system privileges budgetary
imperatives over the needs of justice. Such diminished legitimacy will be compounded
when these conflicts of interest are perceived as driving racially disparate outcomes.

Conflicts of interest surrounding criminal justice debt also distort governmental deci-
sion-making more broadly. Where courts and other justice system actors fund their
operations through revenue extracted from a subset of the population, broader deci-
sions about the size and scope of the criminal justice system will evade the normal
budget-making process and the checks and balances that process imposes.




  In Louisiana, municipal, 27 civil, 28 criminal, 29 traffic 30 and juvenile 31 courts operate judicial
  expense funds. Judges may impose costs payable to the judicial expense fund in a range of
  circumstances, including when a defendant is convicted after a tt·ial, 32 pleads guilty, forfeits
  bond, or posts bond with a commet·cial surety. 33

  Judicial expense funds ar·e controlled by judges of the court en banc. 34 Judges have wide
  discretion over how the funds are spent. Municipal and traffic court judges have discretion to u;e
  the funds for "any expense of the court," including any operating expenses. 35 Criminal district
  courts have even wider· latitude, with the ability to use the funds for "any purpose connected
  with" or "incidental to" the court. 36 The only restriction on spending is that judges may not pay
  their own salaries from the funds. 37

  On a number of occasions, money from judicial expense funds has been used to pay for luxury
  goods or items, including supplemental health insurance for judges, two Ford Expeditions, a
  leather vehicle seat upgt·ade for a take-home vehicle, and a full time private chef. 38

  In 1991, a federal district court held that surcharges on bail bonds that wer·e paid into the
  Judicial Expense Fund were unconstitutional. 39 The court held that the complete control
  exercised by the judges "plainly creates a temptation for the judges to forego due process
  and assess high bail amounts in order to maintain the level of funding necessary to run their
  respective criminal justice systems." 40

  Despite this ruling, the practice of raising revenue for judicial expense funds through imposing
  fees and surcharges on criminal defendants continues. In 2015, a civil rights organization filed
  litigation to challenge the constitutionality of this scheme. 41




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    Most starkly, unconstitutional conOicts of interest exist when a decision-maker with
    the power to arrest, charge, convict, or sentence a defendant would personally benefit as
    a result of exercising that power. 42 Conflicts of interest can also arise in the absence of
    such a direct personal conflict where judicial and executive powers are intermingled. 43

    Conflicts of interest also emerge when raising revenue becomes a dominant aim of the
    criminal justice system and when actors in the system are forced to rely on fines, fees,
    and surcharges for funding. Political pressure to raise more revenue may be transmit-
    ted within a branch of government (such as when a mayor's office places pressure on a
    police chief to issue more tickets) or between branches of government. 44 In Ferguson,
    Missouri, police and court officials were found to have "worked in concert to maximize
    revenue at every stage of the enforcement process," 45 in disregard of the rights or wellbe-
    ing of the people of Ferguson-particularly those who were poor and Black.




       In the aftermath of Michael Brown's death and the attention that was paid to Ferguson, the
       Missouri Supreme Court in 2015 convened a Municipal Division Work Group to identify
       reforms that the court could make to address conflicts of interest, as well as broader issues-
       related to criminal justice debt. The grnup conducted three public hearings acrnss Missouri
      and relied on a numbet· of reports from advocacy organizations and governmental agencies. 46
      The Work Group released its findings and recommendations in March 2016, which included
      the following:
      rai    To address personal conflicts of interest, the majority of the Work Group recommended
             that the Supreme Court of Missouri adopt a rule prohibiting part-time municipal judges
             from serving as prosecutors or defense attorneys in the same county, 47 and prohibiting
             attorneys from serving as both prosecutors and defense attorneys in the same county. 48
      m To address structural conflicts of interest, the Work Group recommended that the
             revenue received from fines and penalties for municipal ordinance violations should be
             directed to the state's school funds. 49
      l\ll   The Work Grnup also emphasized that court costs, fees, and surcharges could be used
             to recoup reasonable court expenses, but should not be directed to law enforcement or
             other core government functions. Rather, the state legislature should give municipalities
             sufficient taxing power to fund law enforcement through general taxes. 50




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There has been a trend towards placing the burden upon the judiciary to generate
enough revenue to cover their operating costs, through retained revenue from fines,
fees, or other assessments. 51 As the majority of the budget in most court pays for salary
and personnel costs, many courts have perceived an imperative
to raise more funds through fines and fees. 52 Indeed, a survey          Criminal justice debt can
of fifteen states found that most had increased the types of fees        undermine the leg'itimacy
and the dollar amounts of each fee during the first decade of the
2000s. 53                                                                of the justice system by
Along with requiring courts to generate revenue for their own                supporting the perception
operations, in some states there are expectations that the courts            that it privileges budgetary
will be a "collection agency [funding] executive branch services." 54
In some instances, these surcharges are earmarked for a specific             imperatives over the needs
purpose which bears a relationship to the offense committed-                 of justice. Such diminished
for example, where the offense of driving under the influence
carries a fee that is earmarked for a head and spinal cord injuries          legitimacy will be compounded
family-support program. 55 In other instances, the money is dis-             when these conflicts of interest
tributed for a range of purposes only loosely connected with the
justice system. For example, in 2012 Tennessee legislators passed            are perceived as driving
a measure imposing a $450 criminal record expungement fee,                   racially disparate outcomes.
which was widely understood as a revenue-raising mechanism
to serve the state's general bu~get. 56 Although the measure was
intended to generate $7 million per year, it has only raised an average of $130,000 annu-
ally due to the high fee. 57 Surcharges are, in effect, a regressive tax imposed on criminal
defendants.




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        Tennessee law imposes a "privilege tax" upon conviction for many crimes. 58 The disbursement
        of the privilege tax demonstrates the manner in which this surcharge acts as a revenue source
        for many areas of government. The privilege tax is disbursed as follows: 59
        im      0.0320%-fund established for the operation of the Tennessee corrections institute
        fill    4.4430%-departments of education (75%) and department of safety (25%), to promote
                and expand driver education thrnugh the public schools of the state, and to promote
                safety on the highways
        m 3 2.1502%-general fund

        !'JI    0.6553%-state court clerks' conference
        tlll    0.8406%-victims of crime assistance fund
        Ill     24.0020%-criminal injuries compensation fund
        1:.11   1.3755%-victims of drunk drivers compensation fund
        IIFI    3.7653%-compensation/salaries of attorneys other than public defenders and post-
                conviction defenders

        111     0.5529%-administrative director of the court, to be used to defray the expenses of
                serving the general sessions courts and the Tennessee general sessions judges' conference
        m 19.2902%-public defender program

        till!   7.4701 %-civil legal representation of indigents fund
        Iii     2.3506%-earmarked for grants to local governments for the purchase and maintenance
                of and line charges for electronic fingerprint imaging systems
        !lil    0.3426%-sex offender treatment fund
        Ill     2.7747%-department of education to promote and expand driver education




     While the conflicts of interest described above predominately involve governmental
     actors, the privatization of criminal justice functions may also lead to conflicts of inter-
     est. The role of private companies in two areas merits special attention: probation and
     debt-collection.

     In many jurisdictions that have privatized probation supervision, probation compa-
     nies derive income solely from the fees_ chat they charge probationers. This "offender-
     funded" model creates perverse financial incentives for private probation companies to
     keep individuals on probation for as long as possible. Companies are incentivized to



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urge judges to impose additional conditions that carry financial costs and to request
that courts sentence defendants to consecutive, rather than concurrent, terms of pro-
bation.60 Advocates and journalists have documented these dynamics in jurisdictions
across the country. 61 For example, in Mississippi, a woman was charged a $377 fine for
driving without a valid license, but her probation supervision fees, including a fee for
electronic monitoring, totaled almost $300 per month. When she fell behind on pay-
ments, the probation officer threatened to have her arrested-potentially resulting in
the loss of child custody-even though she had already paid the fine to the court and
her only outstanding debt was owed to the probation company. 62

Similarly, many states permit the assignment of criminal justice debt to private debt-
collectors.63 Those agencies often derive income directly from the fees that they charge
to defendants. 64 Florida and Tennessee, for exa1~ple, allow private debt collection firms
to add up to a 40 percent surcharge on unpaid criminal justice debt. 65 These incentives
may encourage abusive practices by debt collectors. The consequences of these perverse
incentives are exacerbated when private debt collectors are delegated decision-making
powers with little government oversight. In Iowa, for example, the private debt collector
may be the final arbiter as to when an individual is in default and what is a reasonable
payment to remove a license or registration hold on a delinquent debt. 66

This section outlines a range of reforms intended co untangle the conflicts of interest
affecting a state's criminal justice system.

Legislative Reforms

Cap the Contribution of Court Revenue to Local Operating Costs

States should cap, and over time lower, the percentage of revenue that municipalities or
other localities can derive from the courts. A cap insulates courts and law enforcement
bodies from local political pressures to continue increasing revenue to supplement the
activities of the legislative and executive branches. The reform may need to be accompa-
nied by legislation granting municipalities or localities sufficient taxation authority to
provide a more appropriate and stable revenue base for local governments. 67

This reform was enacted recently in Missouri. 68 Every county, city, town, and village is
required annually to calculate "the percentage of its annual general operating revenue
received from fines, bond forfeitures, and court costs for minor traffic violations." 69 If
the percentage exceeds 20% (or 12.5% in St. Louis County), then the excess amount is
sent to the Missouri Director of the Department of Revenue, which distributes money
co the schools of the county. Passing the revenue to a different level of government
reduces the intensity oflocal political pressures. The law was subject to criticism for
being under-inclusive. Specifically, it didn't cap revenue raised from housing code



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     violations or other non-traffic violations, which in some municipalities are more than
     half the charges imposed. 70 In January 2016, Missouri passed a new bill limiting revenue
     from non-traffic ordinance violations. 71

     In Oklahoma, if a municipal law enforcement agency is determined to be conducting
     law enforcement practices for the purpose of generating more than 50% of the reve-
     nue needed for the operation of the municipality, the State Cornmissioner of Public
     Safety can issue a notice preventing that agency from regulating traffic and enforcing
     traffic-related statutes or ordinances on state highways. 72 Revenue caps have also been
     imposed in Virginia73 and Florida. 74

     Fully Fund Courts from State Budgets

     To avoid creating incentives for courts and localities to fund themselves based on crim-
     inal justice debt, the judicial system should be fully funded by the state. 75 Funding
     courts out of general revenue reflects the important principle that courts are an equal
     branch of government and essential to the common welfare, not a user-pays service
     provider. As the Conference of State Court Administrators has explained: "The benefit
     derived from the efficient administration of justice is not limited to those who utilize
     the system for litigation, but is enjoyed by all those who would suffer is there was no
     such system-the entire body politic." 76 This means funding court operations from a
     state's general budget. However, the feasibility of this model may depend on the organi-
     zation of courts---particularly whether the state has a unified judicial system 77-and on
     constitutional restraints on funding models. 78

     Eliminate Surcharges Imposed on Criminal Defendants

     As discussed above, surcharges improperly use the courts as a substitute taxation
     system. By tacking additional financial obligations onto criminal sentences that fund
     the general functioning of government, but do not serve any traditional criminal justice
     function, surcharges will typically operate as regressive taxes. Yet surcharges are a poor
     form of budgetary management. Earmarked funds escape the priority-setting processes
     of legislative budgets. 79 Surcharges should be eliminated and government spending
     should be determined through the ordinary budgetary processes. 80

     Remove Perverse Incentives of Private Probation Companies

     The criminal justice system should nor engage private probation companies on terms
     that tie a company's profits to the financial obligations shouldered by probationers
     or the length of time individuals remain under supervision. To the extent private pro-
     bation companies operate under "offender-funded" business models, the potential for
     conflicts of interests are too significant to tolerate and state law should ensure that
     such conflicts of interest are eliminated. If private companies are hired to supervise



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probation, legislatures should realign the companies' incentives to ensure that they are
compensated based on positive outcomes, such as ensuring that probationers avoid re-
incarceration. Where private probation is authorized, states should also abolish super-
vision fees. 81

Eliminate Fines and Fees That Are Specifically Earmarked for Law Enforcement Agencies

In many states, funds collected from criminal defendants are earmarked for law enforce-
ment. 82 For example, a statute in Tennessee that establishes mandatory minimum fines
for certain drug offenses, ranging from $250 to $5000, provides that 50% of the amount
collected "shall be paid to the general fund of the governing body of the law enforce-
ment agency responsible for the investigation .and arrest which resulted in the drug
conviction." 83 This direct link between policing and revenue generation may lead police
agencies to prioritize enforcement in ways that may do little or nothing to advance
public safety but that drive up policing budgets. 84 State law should eliminate these
conflicts.

Eliminate Fines and Fees Imposed Prior to Adjudication of Guilt

A number of states have legislation that provides for the imposition of fines or fees
prior to an adjudication of guile. Examples include:
ra Pre-trial diversion fees, where prosecutors are able to collect fees from defendants for
   probation-like supervision in exchange for the suspension of criminal proceedings; 85
ll!J   Pre-trial abatement schemes, where defendants can pay an amount to the police or
       courts to have charges dismissed or adjudication stayed; 86
1:1    Booking fees; 87 and
W:1    Civil forfeiture actions. 88

Prior to trial, the discretion of a. police officer or a prosecutor is not supervised in any
way by the courts, nor challenged by a defense attorney. 89 Yet pressure to raise revenue
through such obligations may be especially acute. Accordingly, fees imposed at these
early stages of the criminal process should be eliminated.

Judicial Reforms

Exercise Supervisory Control Over Local Courts

It is common for a chief justice or presiding judge to be vested with administrative
oversight authority over lower courts in their state or region. 90 Higher courts are
more removed from the conflicts of interest affecting local or municipal courts. These
courts should audit the performance of inferior courts, including municipal courts, to




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     determine whether they are complying with existing law, recommend best practices,
     and assist or even temporarily manage failing or dysfunctional courts. 91

     Closer supervision of municipal courts has been a reform goal in Missouri, with the
     Missouri Supreme Court Municipal Division Work Group recommending the creation
     of full-time professional staff positions in the Circuit Court of St. Louis County to assist
     the Presiding Judge with supervision duties. The proposed role of those staff members
     is "to make frequent scheduled and unannounced visits to the municipal courts, to
     review their records and practices with the municipal judges and clerks, to observe the
     courts in session, to evaluate whether the municipal courts are complying with Mis-
     souri statutes and supreme court rules, and to report any observed deficiencies to the
     Presiding Circuit Judge for individualized attention as required." 92

     Monitor and Eliminate Racial Disparities

     One of the lessons of the Justice Department's Ferguson investigation is that deeply
     entrenched conflicts of interest can interact with overt and implicit bias, resulting in
     discriminatory practices designed to raise revenue. Acting in their supervisory capaci-
     ties, chief justices and chief judges should take active steps to eliminate these dispari-
     ties. This should include, at a minimum, data collection and analysis designed to spot
     unwarranted racial disparities and training on implicit bias for judges and prosecutors
     involved in the imposition and collection of criminal justice debt.

     Executive Reforms

     Realign Incentives of Private Probation Companies and Private Debt-Collectors

     When private companies perform functions related to the imposition or enforcement of
     criminal justice debt, agencies contracting with them should actively structure contracts
     to establish proper incentives. Some states have begun to move towards a "performance
     incentive" funding model in other criminal justice contexts. In Pennsylvania, for exam-
     ple, the Department of Corrections initiated performance-based incentive programs for
     halfway houses contracted by the state. 93 Private operators who lowered recidivism rates
     were rewarded, while those who failed to do so had their contracts revoked. In Illinois
     and California, probation agencies were rewarded with a share of prison cost savings
     when they revoked fewer probationers to prison for violations. 94 In California, as of
     2011, the state saved $278 million in prison costs and reduced probation revocations
     by nearly one-third. 95 In Illinois, the program cue participant recidivism by as much as
     one-fifth. 96 Applied to private probation companies and debt-collectors, performance
     incentive models would require robust oversight mechanisms to monitor the perfor-
     mance of private companies and provide the data to which incentives can be tied. 97 It
     is crucial to ensure that these companies are not incentivized to use inappropriately



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    coercive collection tactics. This will likely mean eschewing contracts that tie a com-
    pany's profits to the amount of debt it extracts and instead linking compensation to
    more fundamental goals of the criminal justice system, such as successful completion
    of probation and reduction of recidivism.

    Disseminate Consumer Protection Information

    In many states, the attorney general will maintain responsibility for enforcing consumer
    protection laws. These laws will typically reflect the principle that debt-collection should
    not be unduly coercive, especially where vulnerable individuals are involved. State attor-
    neys general should publish know-your-rights information via the Internet and other
    accessible media outlets to inform individuals subject to criminal justice debts of their
    rights against unfair or unlawful debt-collection practices.



    3. POVERTY PENALTIES AND POVERTY TRAPS

    As states and municipalities have looked for revenue sources without resorting to rais-
    ing taxes, 98 the burden of criminal justice debt has become significantly more onerous
    for poor Americans than for those with means. 99 The poor pay more not simply because
    they are more often targeted for enforcement, 100 or because many infractions-such
    as sleeping in public places 101 or failing to maintain auto insurance 102 or selling loose
    cigarettes 103 -criminalize poverty. Poor people pay more than those with means simpl½
    because of the face of their pover .104

    A "poverty penalty" exists when a poor person is punished more severely than a wealth-
    ier person for the same infraction as a direct consequence of her poverty. It may take
    a variety of forms: late fees, which can vary from a fixed amount 105 to a percentage
    of the debt owed; 106 costs of collection; 107 interest charges; 108 fees to enter installment
    plans; 109 the issuance of arrest warrants (with associated fees); 110 fines for contempt of
    courc; 111 jailing for contempt of court; and the imposition or extension of probation
    (with associated fees) 112 until the debt is paid in full. These penalties amount to addi-
    tional punishment due to a defendant's poverty.

    A "poverty trapn is a policy that not only punishes the poor more severely, but keeps a
    person in poverty by inhibiting his or her ability to make a living or meet basic needs
    and obligations. For example, making payment of criminal justice debt a condition of
    probation or parole acts as a poverty trap when it results in the denial or termination
    of public benefits, such as food stamps, social security, and housing assistance. 113 The
    suspension of a driver's or professional license is one of the most pervasive poverty
    traps for poor people assessed a fine that they cannot afford to pay. 114 The practice is
    widespread. 115 Nearly 40% of license suspensions nationwide stem from unpaid fines,


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     missed child support payments, and drug offenses-not from unsafe or intoxicated
     driving or failing to obtain automotive insurance. 116 Suspension of a driver's or profes-
     sional licenses is hugely counterproductive; it punishes non-payment by taking away a
     person's means for making a living. 117 License suspension programs are also expensive
     for states to run 118 and they distract law enforcement efforts from priorities related to
     public safety. 119 License suspensions may also be unconstitutional if the license was sus-
     pended before the judge determined the defendant had the ability to pay the criminal
     justice debt. 120

     Poverty penalties and traps are bad public policy. Poverty penalties are often simply
     uncollectable and_ lead to cycles of debt and poverty. 121 These practices often lead to
     incarceration and give rise to new exposure to the criminal justice system due to pro-
     bation violations or driving with a suspended license. 122 Poverty penalties and traps
     cost the state money in unnecessary enforcement costs and result in large amounts of
     debt going uncollected. 123 Given the often draconian consequences of non-payment of
     criminal justice debt, in some cases family members or friends may pay a defendant's
     debt, extending punishment from the defendant to others in a way that undermines
     deterrence and exacerbates a community's poverty. 124 Criminal justice debt can also act
     as a barrier to reentry for those leaving jail or prison. 125

     This section outlines reforms designed to reduce the disproportionately harsh impacts
     that criminal justice debt can have on the poor simply by virtue of their poverty, and to
     increase the fairness of criminal justice debt collection practices more broadly.

     Legislative Reforms

     Abandon Reliance on Poverty Penalties

     States should abandon reliance on poverty penalties. Specifically, state legislatures
     should enact policies:
     ca Requiring courts to conduce an ability to pay assessment before levying penalties for
        non-payment, as discussed in greater detail in Part IV;
     m Prohibiting the imposition of additional interest or other costs for payment plans for
            those with the inability to pay the full amount;
     1:11   Eliminating interest fees, late fees, collection agency referral fees, and other penalties
            incurred during a period of incarceration;
     m Allowing individuals to obtain hardship deferments-such as freezing interest and                               I
            penalties or permitting deferral of payments-during a period of financial hardship.    126                I
                                                                                                                      I



     m Ensuring that ability to pay determinations consider all court ordered obligations                         I
                                                                                                                  I
            chat defendants are required to pay. 127                                                          I
                                                                                                              I
                                                                                                              I
                                                                                                              I



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End the Use of Collection Mechanisms That Act as Poverty Traps

This guide does not take a position on whether collection methods such as wage gar-
nishment, bank account freezes, barriers to vehicle registration, and diversion of tax
refunds are appropriate sanctions for those who are able, but
unwilling, to pay criminal justice debt. For those unable to pay,       Poor people pay more
however, such aggressive collection tactics can lead to broader
                                                                        than those with means
financial crises, including job loss, inability to pay other bills,
and eviction-destabilizing events that push people deeper into          simply because of the
poverty. 128 These mechanisms should be used minimally, and
only when subject to strict ability-to-pay determinations to
                                                                                   of
                                                                        fact their poverty.
ensure that they are not directed at individuals who are unable
to afford court-imposed financial obligations. Additional poverty traps, such as linking
probation terms to payment of criminal justice debt or suspending driver's and profes-
sional licenses are discussed in greater detail below:

rn Linking Probation Terms to Payment of Cr·iminal Justice Debt

Probation should never be imposed or extended solely as a way to collect debts. States
should conserve resources-allowing probation officers to spend their time with pro-
bationers who need their attention and reducing the number of persons arrested and
hauled into court for technical violations arising out of an inability to pay criminal
justice debt. 129 For example; Virginia commissioned a task force comprised of stake-
holders from across the criminal justice system to study alternatives to incarceration;
among other things, the task force recommended making it easier for defendants to
leave supervised probation where the only reason the defendant remained on super-
vised probation was non-payment of fines and fecs. 130 Similar policies can ensure that
probation does not become a poverty trap.

l'il   Suspending Driver's and Professional Licenses

Lawmakers should discontinue the use of driver's license suspensions as a penalty for failing
to pay criminal justice debt, at least where a defendant is unable to pay. 131 If such licensing
is premised on keeping the public safe, suspensions should be tailored to promote public
safety not to facilitate debt-collection. 132 Similarly, states should not authorize suspension
of professional licenses on the basis of non-payment of criminal justice debt. 133

Encourage Fair Collection Practices
Aside from abolishing poverty penalties and poverty traps, state statutes should be
amended to encourage smart and fair collection practices. These practices may include:
™ Caps on the percentage of income that can be collected. Lawmakers should cap the
  amount of a defendant's take home pay that can be collected. Policy advocates have



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             suggested that there is a "tipping point" where the amount of debt collection becomes
             counterproductive to a defendant's stability and leads co reoffending; some studies
             on child support cite 20 percent of take-home pay as this "tipping point." 134 Another
             well-established method for determining "discretionary income" comes from the stu-
             dent loan repayrnent context. "Discretionary income" in that context is defined as
             income in excess of 150% of the federal poverty line and reasonable and fair monthly
             payments are 10% of this discretionary income. 135 For these caps to be effective, it is
             crucial that jurisdictions conduct robust ability-to-pay determinations. As discussed
             in more detail in Section 4, courts should define the relevant financial information
             courts take into account. These determinations are necessary to ensure that courts
             and other decision-makers have a full picture of a person's financial obligations so
             that court debt does not exceed a reasonable tipping point.
     m Reasonable and fair payment plans. State legislatures can incentivize people who owe
             criminal justice debt to satisfy their obligations over time. For example, for debt-
             ors who enroll in reasonable and affordable payment plans tied to their income,
             courts could incentivize consistent compliance. Incentives could range from a waiver
             of interest charges or waiver of the principal owed after a certain length of compli-
             ance136 to certificates of good conduct, 137 which might make a person eligible for
             privileges that would have been withdrawn upon a conviction for certain offenses.
             Payment plans should have no minimum payment amount.
     li€Jl   Ensure that government plays by the same rules as private debt-collection agencies. If
             it would be illegal for a private debt collector to engage in a certain practice-such as
             charging punitive fees or using unduly coercive means-so too it should be impermis-
             sible for the government to do the same.13 8 This reform may require states co impose
             caps on the amount of interest and collections fees government could charge. 139
             States should also enact policies that proh[bit aggressive wage garnishment of indi-
             gent persons with criminal justice debt. 140
     111     Create statutes of limitation for debt collection. When the amount owed by a debtor
             becomes difficult to determine and verify due to poor recordkeeping or the passage
             of time, debts should be terminated. For example, the city of Philadelphia decided
             to end a campaign to collect court debt issued prior to 2010 after advocates showed
             that the records were unreliable and that indigent defendants would be unable to pay
             much of the outstanding debc. 141 In the federal criminal justice system, outstand-
             ing fines are waived 20 years after imposition, or 20 years after someone is released
             from prison, 142 and special assessment fees expire if they are unpaid after 5 years. 143
             Statutes oflimitation should be properly circumscribed to avoid enforcement ohm-
             administrable fines and to avoid creating an ertdless impediment to reentry.




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Scale Debts Based on Ability to Pay

Legislatures should provide statutory authorization and incentives for jurisdictions to
experiment with "day fines"-also known as structured fines 144-which are widely used
in Europe and Latin America and have been te_sted in several American jurisdictions. 145
Day fines are sanctions that are calibrated to an individual's ability to pay. Legislatures
and courts determine how many "units" of punishment are merited for a specific offense
and then those units are set against a person's income to determine an appropriate fine.
One common unit would be one day's worth of wages, or a "day fine." 146 Experiments
with day fines in the United States have been conducted at the municipal, county, and
statewide level, both with and without statutory authority. 147




  Defendants in nearly every state and the District of Columbia are statutorily required to pay
  costs associated with the exercise of their rights under the Sixth Amendment, 148 including
  the right to a defense attorney, 149 to a trial by jury150 (including juror per diem charges 151 or
  genet·al jury fees 152), or to call witnesses for· their defense. 153 They may also be charged witness
  fees, including the costs of subpoenas; 154 fees for essential investigation or evidence, including
  fees to process DNA or drug samples; 155 fees covering the costs of the prosecutor or law
  enforcement agents to prosecute the case; 156 and fees covering the costs of the court to
  hear and try the case, including stenographer fees or court personnel salaries. 157 These "Sixth
  Amendment Taxes" may bur·den a defendant's ability to exer·cise her constitutional rights and
  undermine the legitimacy and fairness of the criminal justice system.

  By adding an economic cost to the exercise of constitutional rights, Sixth Amendment Taxes
  may operate as poverty penalties. Such costs may deter impoverished defendants from fully
  utilizing constitutional rights affor·ded to them in cf"iminal cases. Ultim_ately, chilling the exercise of
  constitutional rights by poor defendants increases the chances that they will face worse crimin 41
  justice outcomes as a result of their poverty. There does not appear to be any systematic empirical
  evidence demonstrating the extent to which Sixth Amendment Taxes affect case outcomes for
  people who are too poor to afford these costs. There is, however, significant anecdotal evidence
  that these fees have real effects on decision-making by defendants. In a study of indigent counsel
  fees, NPR found that "poor people sometimes skip using an attorney," even though that attorney
                                                                                                     ,•

  might be better equipped to help the defendant avoid high penalties resulting in even greater
  financial debt. 158 And a judge in Michigan estimated that 95% of defendants in his county waive
  their right to counsel after being informed that they might be requi,·ed to pay for court-appointed




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        counsel and approximately half of defendants plead guilty at arraignment. 159 The increased
        economic costs attached to more severe sentences, including higher statutory fees 160 and
        higher incarceration rates, 161 may compound the already significant leverage that prosecutors
        enjoy in obtaining guilty pleas. The following reforms will help ensure that defendants are able
        to exercise their Sixth Amendmei:it rights, regardless of their ability to pay:

        !Ill   Legislatures must fully fund the criminal justice system through means other than Sixth
               Amendment Taxes. Simply removing Sixth Amendment Taxes without replacing the
               funding streams for courts and public defender officers will only result in more constitu-
               tionally deficient conditions for defendants.

        r. State judiciaries should enact court rules directing trial courts to conduct ability-to-pay
               determinations before Sixth Amendment Taxes begin to accrue; those rules should also
               direct trial courts to waive non-mandatory_ Sixth Amendment Taxes that would impose
               a significant financial hardship.

        111    Plea bargaining should not shor-t-circuit ability~to-pay procedures. It is estimated that
               90 to 95 percent of state and federal criminal cases are adjudicated through plea bar-
               gaining.162 In exchange for more lenient-sentences or diversion, some prosecutors may
               require defendants to agree to pay restitution or fines, even if the prospect of full pay-
               ment is unrealistic. 163 Courts have reached different conclusions about whether a negoti-
               ated agreement to pay restitution as part of a plea bargain can substitute for ar ability to
               pay determination. 164 But as a matter of policy, the ability to plead guilty or participate
               in a diver·sion program should not be predicated on the waiver of the right to an ability-
               to-pay hearing. 165




     Authorize Alternatives to Monetary Sanctions

     Courts should be authorized to consider alternatives to monetary sanctions, including
     creating community or specialty courts, converting criminal justice debts to commu-
     nity service, or imposing other non-monetary penalties. Some jurisdictions have created
     community courts, where judges use trauma-informed and evidence-based approaches
     to ensure that defendants receive services in addition to appropriate sanctions, while
     increasing procedural justice. 166 Many, but not all, states currently authorize judges to
     impose community service as an alternative to incarceration, but the process could be
     further incentivized and streamlined.

     The imposition of excessive or unreasonable community service may, of course, become a
     significant or insurmountable obstacle for indigent persons, especially those whose work
     schedules, family obligations, or disabilities make community service unrealistic. In




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some cases, it may not be feasible for defendants to complete community service. In
these situations, judges must have discretion to waive fines and fees, give defendants
credit for engaging in drug or mental health treatment, or find an alternative sanction
that does not involve jail. 167 Courts must guar~ against replacing one vise with another. 168
But in many instances, a well-designed community service program would present a
viable and productive alternative.




  Substituting community service for monetary obligations is not a panacea. There are risks that
  might make community service unduly punitive. Tl·i"e following are important considerations
  for lawmakers, agencies, judges, placement sites and others who are interested in instituting
  community service programs:

  fill   Work sho_uld be rehabilitative rather than punitive. Sentencing indigent debtors to
         clean government bathrooms or pick up trash from the highway may evoke chain gangs
         and stigmatize indigent defendants. Effective programs serve the needs of communities
         without demeaning people for being too poor to afford a monetary sanction.

  E      Community service should not unduly interfere with other obligations. For people
         with work, school, and family obligations, community service obligations should be cat·e-
         fully calibrated to avoid putting people in situations where they must choose between
         complying with court obligations and meeting basic needs.

  ill    Community service hours should be valued at minimum wage or higher. Commu-
         nity service obligations will often assign a monetary value to each hour of service, so
         that the overall community service obligation will be satisfied when the individual accu-
         mulates a number of hours equivalent to the court-ordet·ed financial obligation. It is
         important that the dollar value assigned to each hour of community service should
         be set at minimum wage or higher. This ensures that c~mmunity service obligations
         remain reasonable and it reduces the risk that court-mandated community service
         will displace paid employees who might othet·wise perform the assigned duties. 169

  Iii    Courts and host organizations should address liability concerns, including worker's
         compensation claims. 170 Or·ganizations that host those completing court-or·dered com-
         munity service may be liable both for any injuries that occur during the community
         service, as well as torts caused by the pet·son performing community service. Non-profit
         organizations should consult with legal counsel and ensure they have adequate insurance
         before becoming host sites for court-ordered community service.

  !!i    Community service programs should consider safety. Some defendants, such as victims
         of violence or people who are involved with gangs, may not be able to engage in community




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                 service programs in particular locations or in the public view. Courts and probation
                 departments should consider a defendant's safety when tailoring a community service
                 program to a particular person.

           Ill   Defendants should not be required to pay fees or purchase insurance to participate in
                 community service. 171

           Iii   Transportation should be provided, especially for those with suspended licenses due
                 to criminal justice debt. 172

           Before implementing community service programs, states should also create statewide or
           jurisdiction-specific standards, governed by applicable law. In New York State, for example,
           the Division of Criminal Justice Services drafted Community Service Standards, 173 which
           outlines relevant law, such as New York labor and human rights law, as well as administrative
           considerations. Some characteristics of well-designed community service programs include
           elements of restorative justice, some degree of choice and agency for defendants, and
           meaningful integration of volunteers with court-ordered defendants in the service of real
           work: 174 As an overarching consideration, community service should aim to set up individuals
           for success, not failure, which means that community service obligations should be realistically
           discharged within a reasonable amount of time. Crafting community service obligations with a
           rehabilitative purpose can also help to offset some of the administrative costs by avoiding the
           costs of future criminal conduct. With proper implementation, the benefits of such programs
           may include reduced rates of recidivism, the completion of important civic projects, and
           community building. 175




     De-link Debt and Reentry
     Legislatures should reduce the collateral consequences that indigent defendants face
     as a result of criminal justice debt when they leave prison. Parole supervision fees 176
     and requirements that prisoners repay the costs incurred from their incarceration 177
     are unlikely to provide states with substantial revenue but may undermine efforts to
     minimize recidivism. The following policies de-link debt from reentry:
     Wll   De-link Payment from Expungement. Expungement of a criminal record should not
           be conditioned on a person's financial status. In some states the full payment of
           court debt is a requirement for expungement; 178 in others, mandatory expungement
           fees may act as a barrier to reentry. 179 Both of these practices constitute poverty traps.
           Conditioning expungement on payinent of criminal justice debt should only occur,
           if ever, when a robust ability to pay determination demonstrates that non-payment is
           willful. Expungement has hugely significant consequences for, among other things,
           employment and housing opportunities; it is unfair and counterproductive to link


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      those outcomes to wealth. Indeed, for many individuals released from prison, condi-
      tioning expungement on repayment will create a vicious cycle: those individuals may
      have accumulated extremely high court debt, yet they will have earned no significant
      income during their period of incarceration and their ability to obtain employment
      upon release may be significantly impeded by court records.
Bl!   De-link Payment from Voting Rights. States should eliminate the payment of criminal
      justice debt as a requirement to restore voting rights. One recent report found that 30
      states have laws that disenfranchise people who owe criminal justice debt. 180 Voting is
      simply too fundamental a right to condition on whether a person has made a monetary
      payment, and the consequences are especially stark for people who cannot afford to pay
      criminal justice debt and therefore face a potential lifetime of disenfranchisement. 181

Create Amnesty Programs

In some cases, a defendant may be able to pay part of a debt but fears coming forward
to do so. State legislatures should authorize programs designed to incentivize debtors
to come out of the shadows and make what payments they can by enrolling in feasible
payment plans and payment forgiveness programs. These "amnesty programs" have
been implemented to collect revenue that would have otherwise likely gone unclaimed
while also allowing people to clear warrants and reestablish licenses. 182




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       Juveniles and their families who may be burdened with fines, fees, and restitution as a result
        of juvenile justice system involvement face unique harms due to c1-iminal justice debt. 183 The
        imposition of this debt may be widespread-one study in Pennsylvania found that 80% of
       juvenile defendants were burdened with criminal justice debt. 184

        For young people and their families, the imposition and collection of criminal justice debt may
        undermine the rehabilitative goals of the juvenile justice system-pushing young people deeper
        into the criminal justice system and negatively impacting their family relationships. When
       juveniles are responsible for paying this debt, they may have terms of probation extended and
        can become enmeshed in the criminal justice system as adults based on their failure or inability
       to pay criminal justice debt. 185 Many young people have no way of accessing money to pay for
        criminal justice debt because of limits on their ability to work, or because working excessive,
        hours could negatively impact their education. 186 Additionally, expungement and record sealing
        may not be available to young people until fines and fees are paid, or probation terms are
        over. 187 Finally, civil judgments can negatively impact a young person's credit, limiting their ability.
       to access jobs, housing, and educational loans. 188

        In light of these concerns, some jurisdictions across the country have reduced or eliminated
        criminal justice debt for juveniles. Alameda County, California recently repealed administrative
       fees that are charged to the families of juveniles in the criminal justice system. 189 California
        is considering statewide legislation that would prevent counties from charging these fees
       altogether. 190 Washington State passed the Year Act, which eliminated some juvenile justice
       system fees and fines, and allowed young people to have their records sealed if they had made
       good faith efforts towards paying off restitution. 191

       For a comprehensive discussion of the ways in which criminal justice debt impacts juveniles
       and their families, see Jessica Feierman et al., Juvenile Law Center, Debtors' Prison for Kids?: The
        High Cost of Fines and Fees in the Juvenile justice System (2016).




     Judicial Reforms

     Amend Court Rules

     State supreme courts should enact court rules to encourage the use of alternative con-
     ditions-such as payment plans, conversion to community service, and fine waivers-
     when payment of an amount owed would pose a significant hardship, as discussed
     above. Recently, the Supreme Court of Michigan enacted new court rules that guide
     Michigan courts in the exercise of this discretion, including rules allowing for a rnurt



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to modify a debt: "If the court finds that the defendant is unable to comply with an
order to pay money without manifest hardship, the court may impose a payment alter-
native, such as a payment plan, modification of any existing payment plan, or waiver
of pare or all of the amount of money owed." 192 Courts around the country may seize
the initiative to eliminate poverty traps and penalties. The space available for court-led
change will often depend on the underlying legal requirements. Where not precluded
by statutes affirmatively mandating practices that constitute poverty traps or penalties,
many of the legislative reforms outlined above-including those that involve waiving
or capping unnecessary fees or de-linking access to important resources from payment
of court debt-could be accomplished through court rules that constrain discretion by
individual judges.                                 '

Create Di~ersion c_ourts

Another potentially useful intervention is the establishment of diversion courts where
judges may waive certain fines and fees for participation in activities like educational or
drug treatment programs. 193 One example is Houston's Homeless Court, where home-
less defendants can resolve outstanding misdemeanor warrants. The program is volun-
tary, it does not require defendants to give up any due process protections if they later
choose to go to trial, and defendants play an active role in working with local agencies to
propose how they can fulfill their sentence's requirements by participating in commu-
nity s~rvice, counseling, computer or literacy classes, or job-search programs. 194 Where
governed by appropriate safeguards and limited in scope, these alternative courts can
ensure appropriate criminal justice interventions that do not punish or perpetuate pov-
erty. Finally, when creating diversion courts, chief justices or chief judges should ensure
adequate training-including training on implicit bias to ensure that individuals are
not disproportionately excluded from diversion courts based on their race.

Executive Reforms

Exercise Authority Over Collection Agencies

In many states, the attorney general is responsible for collecting debts owed to the state,
either by collecting debts directly or by contracting with third-parties to collect debts. 195
Sometimes the line between action taken by a state attorney general's office and a pri-
vate debt collection company or private contractor is blurry. For example, in Ohio, pri-
vate debt collectors used letterhead from the attorney general's office when they sent
demand letters arising from debt owed to the state. 196 \Vhen attorneys general contract
with third parties to collect criminal justice debt, they should structure contracts to
require debt-collectors to use reasonable payment plans (as discussed above) and pro-
hibit the use of abusive or unfair debt collection practices and excessive fees.




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     Monitor Civil Rights Consequences

     In many instances, the practices that constitute poverty penalties or traps may not be
     applied equally. When imposed in a racially disparate manner, practices like license
     suspension or extended terms of court supervision may deepen existing racial dispari-
     ties in access to opportunity. 197 In most states, the attorney general's office will have a
     civil rights division with broad authority to monitor, and shine a spotlight on, prac-
     tices resulting in unwarranted racial disparities. 198 Attorneys general should exercise
     that authority to identify and help eliminate discriminatory practices by local actors,
     whether they grow out of overt or implicit bias.



     4. ABILITY-TO-PAY DETER

     Judges across the country routinely incarcerate people for failure to pay criminal justice
     debt without regard to the financial circumstances that may make payment impos-
     sible.199 This practice violates well-established constitutional principles. Moreover,
     incarcerating individuals because of their inability to pay imposes a particular hard-
     ship on some of the most vulnerable members of society, 200 and exacerbates racial and
     socioeconomic inequalities in the criminal justice system. 201 Additionally, the practice
     leads to wasted resources, as efforts to secure payment from individuals who may be
     unemployed, homeless, or simply too poor to pay are often fruitless. 202 Accordingly, a
     crucial reform is to ensure that no one is ever jailed because they cannot afford to pay
     a fine or fee.

     The Supreme Court has made clear that the Constitution prohibits courts from jailing
     people for not paying debt that they are too poor to afford. In Bearden v. Georgia, a case
     involving the automatic revocation of probation where a probationer did not make
     required payments, the Court held that "depriv[ing] a probationer of his conditional
     freedom simply because, through no fault of his own he cannot pay a fine ... would be
     contrary to the fundamental fairness required by the Fourteenth Amendment." 203 Simi-
     larly, in Tate v. Short, the Court held that the Equal Protection Clause of the Fourteenth
     Amendment "prohibits the State from imposing a fine as a sentence and then automati-
     cally converting it into a jail term solely because the defendant is indigent and cannot
     forthwith pay the fine in full." 204 The Court emphasized that a willful failure to pay a
     fine was distinguishable from a defendant's inability to do so. 205 It is because of this dis-
     tinction-between a defendant who refuses to pay criminal justice debt and a defendant
     who lacks the means to pay-that an ability to pay determination must take place before
     someone is jailed for nonpayment of criminal justice debt.




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The Supreme Court has recently provided guidance on what an ability-to-pay determi-
nation should consist of In Turner v. Rogers, the Court held that finding a man in con-
tempt of court and jailing him for unpaid child support payments without inquiring
into his financial status "violated the Due Process Clause." 206 In reaching its holding,
the Court also noted certain procedures which, taken together, create "safeguards" that
can "significantly reduce the risk of an erroneous deprivation ofliberty" in the nonpay-
ment context. 207 These safeguards include:

        (1) notice to the defendant that his «ability to pay" is a critical issue in the contempt proceeding;
        (2) the use of a form (or the equivalent) to elicit relevant financial information; (3) an
       opportunity at the hearingfor the defendant to respond to statements and questions about his
       financial status, (e.g., those triggered by his responses on the form); and (4) an express finding
       by the court that the defendant has the ability to pay. 208

The Court left open the possibility that even more stringent protections, including the
right to counsel, may be appropriate where the government is affirmatively seeking to
have an individual jailed based on non-payment of criminal fines or fees. 209

This section outlines reforms designed to put in place robust ability-to-pay procedures.

Legislative Reforms

Codify Critical Elements of Ability-to-Pay Proceedings in State Law

Ability-to-pay determinations have several critical elements which should be mandated by
statute for situations where courts need to determine a defendant's ability to pay criminal
justice debt:
la!   Robust notice provisions. Defendants should receive comprehensive notice outlining
      the financial obligations they face, the standards that will be applied, the informa-
      tion that will be considered, and their right to counsel. It is especially important for
      defendants to have notice about what types of documents they sbould bring to the
      hearing (e.g., tax returns·, pay stubs, bank account information, proof of receipt of
      public benefits).
m Clearly articulated and well-defined operative terms.       Statutes should define opera-
      tive terms such as "indigent," "ability to pay," and "financial hardship." 210 It is also
      imperative that statutes clearly define what follows from the application of these
      terms. For example, a jurisdiction may impose a standard of "indigency" that, where
      applicable, triggers a requirement or a presumption that all financial obligations be
      waived or modified. On the other hand, certain standards (e.g., "undue hardship")
      may require courts to scale or adjust monetary obligations-either by reducing their
      absolute magnitude or requiring reasonable payment plans-to make them consis-
      tent with an individual's financial circumstances.



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                 oo Clear burden of proof. Ability-to-pay determination procedures should make clear
                    both the burden chat must be met and which party must meet it.
                 i!il   Presumptions of inabtlity to pay based on indigency. To make determinations more
                        efficient, statutes may include rebuttable presumptions that people who are indigent,
                        either because their income is below a certain threshold or because they receive public
                        benefits, are unable to pay criminal justice debt. 211
                 Iii    Clear description of the sources of financial information considered. A court may
                        consider, for example, tax forms, public benefit eligibility, affidavits, or other docu-
                        ments that can give a realistic picture of a person's financial status. The standards for
                        demonstrating inability to pay criminal justice debt should not be overly onerous or
                        unnecessarily stringent. Excessively burdensome documentation requirements run
                        the risk that courts will reach erroneous determinations of a defendant's ability to
                        pay due to the defendant's inability to produce required documents. It is also impor-
                        tant that courts consider, among other things, the full array of legal fees and fines
                        a defendant faces. While a relatively low-level fine in one jurisdiction may not prove
                        catastrophic on its own, an impoverished defendant may face truly severe burdens
                        when shouldering the cumulative weight of financial obligations imposed in numer-
                        ous proceedings or by multiple jurisdictions. 212
                 ia     Ability-to-pay findings on the record. Requiring courts to make express findings of
                        ability to pay on the record serves the functions of ensuring that requisite procedures
                        are followed, effectively informing the defendant of the outcome of a determination,
                        and aiding in any subsequent review. 213

                A final crucial consideration is when ability-to-pay determinations should occur. The
                elements of an ability-to-pay proceeding listed above should be considered critical
                                           ingredients of such proceedings whenever they take place. As
                                           discussed above, well-established constitutional principles
  The Supreme Court has made               require ability-to-pay determinations prior to incarcerating
    clear that the Constitution            a person for non-payment. Though not mandated by estab~
                                           lished Supreme Court case law, policy considerations counsel
   prohibits courts from jailing           in favor of conducting such determinations when financial
people for not paying debt that            obligations are imposed, not simply when a court is deciding
                                           whether to incarcerate someone for non-payment. Although
   they are too poor to afford.            there are costs associated with conducting ability-to-pay deter-
                                           ruinations when financial obligations are imposed, assessing
                a defendant's ability to pay at that earlier stage may ultimately be far more efficient
                than waiting until a defendant has defaulted. Efforts to collect criminal justice debt
                that a defendant cannot pay are costly, so the net financial impact on a jurisdiction
                should reflect the benefit of avoiding measures to recoup uncollectable debt. 214 Beyond
                the increased efficiencies that flow from avoiding futile collection efforts, assessing


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financial circumstances at the imposition stage will avoid unnecessarily enmeshing
impoverished defendants in the criminal justice system through arrests or court pro-
ceedings connected to enforcement of unpaid debt. 215 When financial circumstances
are assessed at the imposition stage, defendants should generally also have an oppor-
tunity to raise changes in their financial circumstance that render them unable to pay
whatever financial obligations were imposed. 216




  A settlement agreement in a federal lawsuit challenging practices in the municipal court of
  Biloxi, Mississippi prnvides a potential model for defining the mechanics of ability-to-pay
  determinations. 217

  &1     Timing of ability-to-pay detern1ination. Under the agreement, the court shall conduct
         an ability-to-pay determination when "determining the amount of LFOs, establishing an
         LFO Payment Plan, or addressing the nonpayment of LFOs in a hearing." 218

  11     Considerations in determining ability to pay. In determining ability to pay, a court
         must consider "the defendant's efforts to earn money, secure employment, and borrow
         money, as well as any limitations on the defendant's ability to engage in such efforts due
         to homelessness, health and mental health issues, temporary and permanent disabilities,
         limited access to public transportation, limitations on driving privileges, and other rel-
         evant factors." 219

  Iii    Standard form. Defendants complete an "LFO Inability to Pay Form" to document their
         income and assets, any outstanding debts, and their efforts to borrow money as well as
         any attempts to find work. 220

  111    Alternatives to incarceration. If a judge determines that the defendant is unable to pay,
         the judge must consider alternatives to incarceration, including waiver or reduction in
        · fines, community service, completion of job training o,- other educational prngr-amming,
         or an extension of time to pay. 221




Amend or Repeal Facially Unconstitutional Statutes

Many states maintain laws that, on their face, contradict the constitutional protec-
tion against being jailed based on inability to pay a financial obligation. For example,
some states have statutes permitting incarceration of individuals whose failure to pay
is based on inability to afford financial obligations 222 or mandating automatic incar-
ceration for failure to pay criminal justice debt without providing an ability-to-pay



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     determination. 223 Such statutes should be repealed or amended to conform to minimal
     constitutional requirements.

      Eliminate PresumfJtions of Ability to Pay Criminal Justice Debt

     Presumptions that all defendants are able to pay criminal justice debt are bad public
     policy. Examples of these practices include not only blanket presumptions that all
     defendants are able to pay criminal justice debt, 224 but also presumptions of an abil-
     ity to pay based on circumstances that are not necessarily tethered to a defendant's
     financial situation (such as paying a bail bond) 225 and consideration of a defendant's
     imputed future income. 226 An inaccurate ability-to-pay determination or no ability-co-
     pay determination, coupled with the threat of imprisonment for failure to pay criminal
     justice debt, can cause defendants to take desperate measures, including handing over
     money from the disability and welfare checks that they need to survive. 227 Statutes gov-
     erning criminal justice debt should not impose presumptions that may cause individu-
     als to be erroneously deemed to have engaged in willful non-payment when in fact they
     lack the ability to pay.

     Judicial Reforms

     State supreme courts should also enact court rules or administrative orders to ensure
     robust ability-to-pay proceedings. The same critical elements of ability-to-pay determi-
     nations outlined above should guide those rules or orders.

     Provide Judicial Education

     Chief justices or a state's administrative office of the court can educate trial court judges
     to ensure compliance with constitutional principles. This can be done in a variety of
     ways, including:
     13     Judicial training. Judges who are tci.:sked with imposing fines and fees or adjudicating
            a defendant's default on criminal justice debt should be trained on the holdings of
            Bearden and Turner and relevant procedures, obligations, standards, and consider-
            ations. 228 When new judges take the bench, they should undergo training prior to
            presiding over any matters that involve the imposition or collection of criminal jus-
            tice debt. 229
     liii   Bench cards. Circulating a user-friendly and information-rich document to judges
            can help ensure that defendants who come before them are not erroneously deprived
            of their liberty on the basis of their inability to pay criminal justice debt. Bench cards
            relating to criminal justice debt issues are currently in use in multiple states. 230
     m Guidance regarding warrants for nonpayment. The statewide administrative office of
       the courts should analyze failure-to-pay arrests and issue guidance providing that no
       warrants will issue for the nonpayment of criminal justice debt. 231 For example, an


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  analysis was undertaken in Denver and resulted in the cancellation of 12,500 active
  warrants and a projected revenue gain based on reduced costs for serving warrants
  and incarcerating people for nonpayment. 232

Create Standard Forms

Creating standard forms for ability-to-pay determinations and court orders can help
eliminate inconsistent ability-to-pay determinations. For example, the recent Mont-
gomery settlement requires that an "Affidavit of Substantial Hardship Form" be used
to elicit relevant and consistent financial information from defendants in the nonpay-
ment context. 233 Such forms reduce the risk that an important component of a defen-
dant's financial situation will be overlooked.

Conduct Periodic Audits

Reviewing court collections practices through periodic audits can aid in monitoring
individual judges' adherence to Bearden's mandate. For example, the Michigan State
Court Administrative Office outlines model collections practices and requires audits to
verify that courts are in compliance. 234

Take Enforcement Actions

Judges should be disciplined if they fail to follow Bearden's mandate. The Ohio State Bar
Association did just that in the case of a judge who failed to follow required procedures
to determine a defendant's ability to pay criminal justice debt prior to ordering incar-
ceration for nonpayment. 235

Executive Reforms

There are a number of executive branch actions that can be undertaken to prevent the
incarceration of individuals on the basis of their inability to pay criminal justice debt.
These include:

Disseminate Information to the Public

The state attorney general should publish know-your-rights information via the Inter-
net and other accessible media outlets to inform indigent defendants of their basic con-
stitutional and statutory protections with respect to any inability to pay criminal justice
debt, their right to counsel, and other procedural protections.

Issue Clarifying Legal Opinions

The state attorney general should issue legal opinions explaining the scope of constitu-
tional protections, minimal requirements for ability-to-pay determinations, instances
in which criminal justice debt can and should be waived, and the consequences under
state anti-discrimination law of systematic racial disparities in rates of jailing for


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     non-payment. 236 The ability to request a state attorney general's opinion is dictated
     by state law and is restricted to certain entities. 237 South Carolina is one state that
     broadly authorizes officials, including to the Deputy Director and General Counsel of
     the South Carolina Commission on Indigent Defense, to request attorney general opin-
     ions. 238 In other states, public defenders could be best suited to request state attorney
     general guidance about criminal justice debt issues where private citizens do not have
     standing to do so.

     Conduct Audits and Monitor Compliance

     To the extent that police practices and the imposition or collection of criminal justice
     debt violate state or federal civil rights law, state attorneys general may have the ability
     to investigate these practices through their office's civil rights division. 239



     5. TRANSPARENCY AND ACCOUNTABILITY

     Ensuring meaningful transparency in the operation of criminal justice debt is crucial.
     Prioritizing transparency enables reform in many ways. Access to information about the
     mechanics of criminal justice debt-including rich quantitative data-equips advocates
     to identify abusive practices, racial disparities, and inefficiencies. It provides lawmak-
     ers with the tools to evaluate the financial and social impacts of criminal justice debt
     when proposing or voting on legislation. And it provides citizens with the information
     required to hold their elected officials accountable.

     The transparency frameworks of many states, however, impede these goals. Empirical
     data on the imposition and collection of criminal justice debt is often not collected or
     made publicly available. Even when it is, the data is often compiled by an array of agen-
     cies and bodies---clerks of courts, probation agencies, corrections officials, and private
     debt collection companies-which makes the information piecemeal and inaccessible.
     The statutory provisions imposing and regulating criminal justice debt often sprawl
     across many titles of a state's code, including those related to crimes, criminal proce-
     dure, courts, local government, vehicles, corrections, and revenue. The result is often
     an incomprehensible mess of provisions, as difficult to decipher as a tax code. 240 This
     opacity increases administrative costs 241 and obscures the responsibility oflegislators.

     There is also a fundamental fairness principle underpinning the following reforms. A
     defendant is entitled to know, prospectively, of the financial obligations for which he
     or she may become liable. Once convicted, a person has a right to know what financial
     obligations were imposed and the legal basis for that imposition. The absence of this
     information, in a clear and accessible form, compromises a defendant's ability to chal-
     lenge the imposition and collection of criminal justice debt. Confusion as to what debts


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remain outstanding against a person can lead to non-compliance with payment plans,
even when a person has the capacity to pay their debts. In the worst-case scenario, it
can lead to a summons or warrant being issued against a person for failure to pay, and
needless incarceration.

The following sections propose procedures to enhance transparency and promote
accountability.

Legislative Reforms

Collect and Publish Data on Criminal Justice Debt

States should collect data that would illuminate the practices surrounding criminal
justice debt. Although court systems can and should do this without statutory autho-
rization, legislation requiring and providing funding for data collection would ensure
that courts engage in data collection in a uniform manner. Ideally, the data would be
collected and compiled by a centralized body and published in a unified report. Such
data should include:
w     Imposition of debts: How much criminal justice debt is being imposed by each court,
      correctional facility, debt-collection company, or other entity? On which statutory
      bases? Are there race disparities in the imposition of criminal justice debt?
13    Revenue collection: How much criminal justice debt is being collected (fines, fees,
      costs, assessments, etc.)? What methods are being used to collect the debt (e.g. incar-
      ceration, suspension oflicenses, payment plans)?
Ill   Disposition of collected money: How much criminal justice debt is being paid into
      state or municipal general revenue funds, specific earmarked funds, or directly to
      other entities?
mn Collection costs: What is the cost of collecting criminal justice debt, by courts, pro-
   bation agencies, correctional facilities, or private debt collection companies? 242
I!!   Waivers based on inability to pay: How frequently are waivers based on an inability
      to pay being granted? Are there race disparities in the granting of waivers? How fre-
      quently are payment plans or payment alternatives being used? 243
Ill   Probation: How often is probation revoked for a failure to pay debts? How often is
      probation being extended for a failure to pay debt?
111   Bases for arrests and incarceration: How many warrants are issued and executed on
      the basis of a failure to pay or failure to appear at a proceeding related to criminal
      justice debt? How often are individuals found in contempt for failure to pay or failure
      to appear at proceedings relating to criminal justice debt? Of these, how many people
      are incarcerated?




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     Some states already have legislation imposing reporting obligations. For example,
     Michigan requires the clerk of each court to report on the total number of cases in
     which costs or assessments were imposed, the total amount of costs or assessment that
     were imposed by the court, and the total amount of costs or assessments that were col-
     lected by the court. 244 South Dakota, which passed legislation in 2015 establishing an
     Obligation Recovery Center to consolidate the collection of money owed to state agen-
     cies and programs, requires the center to annually report the number of debts referred
     to it, the annual am.aunt and nature of the debt obligations recovered by the center, the
     number of debts referred from the center to private collection agencies and the results
     of those referrals, and the costs and expenditures incurred by the center. 245

     Establish a Commission to Review Existing and Proposed Fines and Fees

     A commission tasked with studying proposed fines and fees to assess their financial
     and social impacts will encourage a more fair and rational criminal justice system. For
     example, the Illinois Access to Justice Act created a Statutory Court Fee Task Force,
     made up of representatives from all three branches of governrnent. After spending a
     year reviewing the fines and fees that are imposed in civil and criminal cases, the Task
     Force released a report with its findings and recommendations. 246 Periodic review of
     existing fines and fees, at least every three to five years, would allow states to evaluate the
     impact of any new or revised fees and fines, as well as to assess the cumulative impact
     of all fees and fines. 247 A commission made up of a broad range of stakeholders could
     generate balanced and bipartisan recommendations.




       The Massachusetts Special Commission to Study the Feasibility of Establishing Inmate Fees
        provides an example of a successful model for evaluating the imposition of fees and fines. The
        commission was tasked with conducting a comprehensive study of the feasibility of establishing
        inmate fees within the correctional system, including the types and amount of fees to be
        charged, the revenue t_hat could be generated from the fees, the administrative costs, and the
        impact on the affected population. 248 The enabling statute provided that the membership of
       the commission should include sheriffs, representatives from prisoners' legal services, public
        defenders, and correctional system union representatives. 249 The commission conducted
       surveys, literature reviews, and phone interviews. The commission concluded that establishing
       additional inmate fees would lead to "a host of negative and unintended consequences,"
        including acting as a barrier to successful re-entry. 250




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Include Fiscal Impact Statements in New Legislation

A fiscal impact statement provides a projection of the costs and benefits of proposed
legislation. A fiscal impact statement may encourage legislators to enact rational, cost-
saving reforms and help depoliticize the policymaking process. 251 A number of states have
enacted laws requiring fiscal notes for at least some criminal justice
bills, often those increasing sentences or creating new crimes. 252 A    The statutes imposing
joint report by the Center on Budget and Policy Priorities and the
                                                                         criminal justice debt often
ACLU is a useful resource for advocates, laying out best practices
for creating consistent, properly researched, detailed, and acces-       sprawl across many titles
                    253
sible fiscal notes.
                                                                            of a state's code. The result
Expand Public Records Laws to Include Revenue and Collection of
                                                                            can be an incomprehensible
Court Debt
                                                                            mess of provisions, as
In some states, the judiciary is exempt from open records law. 254
While records may nonetheless be accessible through other                   difficult to decipher as
channels, accessing information may be unnecessarily com-
                                                                            a tax code. This opacity
plicated. Data on court revenue and expenditures, and on the
imposition and collection of court debt, should be covered by           y   increases administrative
statutory open records regimes. Further, where an open records
                                                                            costs and obscures the
law does extend to the judiciary, courts must establish proper
procedures to ensure compliance with their legal obligations. 255           responsibility of legislators.
Require that Criminal Justice Debt Statements Be Issued to
Defendants

A defendant should be entitled to a statement that itemizes all amounts that he or
she owes towards fees, fines, restitution and other assessments, the legal basis for each
amount, and the date by which it is due. These statements should be tested for read-
ability and should avoid jargon. Statements should also include clear instructions on
what to do if a person is unable to pay the debt. Generally, it will be appropriate for a
judge to issue such a statement during sentencing, 256 and requiring that such state-
ments be read aloud in open court is a best practice to ensure defendants understand
the obligations they face and that the imposition of fees and fines occur in a transpar-
ent manner. However, where other bodies, such as a department of corrections or a pro-
bation agency, are empowered to impose debt obligations on a defendant, they should
also be bound to provide a statement of what the defendant owes. 257 In Texas, a recent
law prevents courts from imposing costs on defendants unless a written bill listing the
costs is provided to the defendant and signed by the official who is imposing the cost
or receiving the revenue. 258




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     Collect and Publish Data on Private Probation or Debt-Collection Companies

     Many states authorize localities to outsource probation supervision 259 or debt col-
     lection.260 These companies, and the government actors who engage them, should be
     accountable to the public for their policies and performance. Accordingly, contracts
     with private probation or debt-collection companies should be required to be disclosed
     and easily accessible (typically via an online portal). Private contractors should also have
     to maintain and disclose records relating to their impact on the criminal justice system,
     such as the number of defendants they are assigned to, the total amount of criminal
     justice debt collected, the amount of collection fees or supervision fees collected from
     individuals, the rate at which individuals whose accounts they pursue are jailed, and the
     recidivism rates of individuals subject to private supervision or collection.




        In 2015, after ongoing criticism of its private probation industry, Georgia passed House Bill 310
        to strengthen oversight of private probation companies. 261 All private companies which enter
        into a contract to provide probation services need to provide quarterly reports summarizing:

        m The number of offenders under supervision;

        11     The amount of fines, statutory surcharges and restitution collected;

        llll   The amount of fees collected and the nature of such fees (including probation supervi-
               sion fees, rehabilitation programming fees, etc.);

        fii    The number of community service hours performed by probationers under supervision;

        11\l   Any other service fo,- which a probationer was required to pay;

        11\l   The number of offenders for whom supervision or rehabilitation has been terminated
               and the reason for the termination; and

        !l1    The number of warrants issued during the quarter. 262

        The r·eports are subject to public inspection, and local governments are encouraged to post
        electronic copies on their website. 263




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Judicial Reforms

Issue Rules Requiring that Warrants Indicate the Reason for their Issuance

The procedures for issuing warrants for arrest are ordinarily regulated by court rules. In
many states, warrants do not state the reason for their issuance. This impedes the col-
lection of data on incarceration for failure to pay criminal justice debt.

Circumstances in which incarceration relating to criminal justice debt may be masked
include:
l!l    When payment of criminal justice debt is a condition of probation or parole, the
       basis for a warrant arising out of a failure to pay may only be recorded as a violation
       of probation or parole without explanation of the underlying reason;
!ili   When a person misses a court hearing at which she would be reguired to pay a debt
       she cannot afford, and is subsequently arrested as a result, the arrest may be simply
       recorded as a failure-to-appear without noting that the appearance was entirely for
       purposes of enforcing court debt. 264

Court rules should reguire that warrants clearly indicate the underlying reason for their
issuance.

Make Informotion Accessible Online

Many courts have begun to use their website as a public information tool by uploading
schedules of fines and fees. 265 Websites can also include a "Freguently Asked Questions"
page that explains how to pay fines or fees, how court procedures work, what somebody
should do if they can't pay their debt, and the rights of a criminal defendant against
whom criminal justice debt has been or may be imposed. 266

Use Judicial Directives to Clarify Which Fees Are Discretionary

Many provisions imposing criminal justice debt across the states do not indicate
whether a judge has discretion to waive or suspend the fine or fee. Similarly, many pro-
visions are silent as to whether an ability to pay determination is reguired prior to its
imposition, or at least whether a defendant can challenge the imposition of a fine on
the basis of an inability to pay.

Courts may clarify these statutory ambiguities through judicial directives. For example,
in Colorado, a judicial directive was issued stating:

        If the statute or rule is silent as to the court's authority for waiver or suspension ofthe specific
        fine, fee, surcharge, or cost being considered, this [judicial directiveJshall provide authority for
        the court to waive or suspend the imposition or collection ofthe amount only in those instances
        where the courtfinds the Defendant or Respondent has no ability to pay the assessed amount. 267



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     Executive Reforms

     Audit Courts

     Auditing agencies (e.g., comptrollers) should conduct regular audits regarding revenue
     generated by courts, screening for efficiency, fairness, and perverse incentives. Executive
     agencies with auditing or accounting expertise should be used to analyze the criminal
     justice debt system. This is already occurring in some states-the Virginia Auditor of
     Public Accounts, for example, has conducted special reviews of the courts' collection
     system of unpaid fines and fees. 268



     6. MOVING AHEAD

     Advocates and policymakers seeking to reform criminal justice debt face pronounced
     challenges. The laws and informal practices that have led to widespread abuse are
     entrenched and complex, guiding the actions of numerous actors and embedding harm-
     ful incentives throughout the system. Yet the opportunities for reform are also signifi-
     cant, and should be seized. There is growing awareness that over-reliance on criminal
     justice debt distorts critical aspects of the legal system. It causes grave individual injus-
     tice and erodes the legal system's legitimacy. No single reform outlined in this guide is
     a silver bullet, and different states will present different needs and opportunities. The
     aim of this guide is to equip advocates and policymakers to identify promising levers of
     reform and move forward with concrete, workable solutions.




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       Complaint, Fuentes et al., v. Benton County, No. 15-2-02976-1 (Wash. Super. Ct. Oct. 6, 2015), available
       at https ://www.aclu.org/ sites/default/ files/ field_ document/fuentes_v._benton_ county_-_
         complainc.pdf.
   18. See White House Council of Econ. Advisers, Fines, Fees, and Bail: Payments in the Criminal justice System
         that Disproportionately Imp,1ct the Poor (December 2015), available at https://www.whitehouse.gov/
         sites/ default/files/page/files/1215 __ cea_fine__fee_bail_issue_brief.pdt; Vanita Gupta & Lisa
         Foster, U.S. Dep't ofJustice, Civil Rights Div., Dear Colleague Letter (March 14, 2016), available at
         https://www.justice.gov/ crt/file/832461/download;Joint Mot. For Entry of Settlement Agreement
         tj'(j' 85-91, United States v. Hinds County, No. 3:16-cv-00489 (S.D. Miss.June 23, 2016).
   19. See, e.g., Harris, supra note 12, at 123 (analyzing five counties in Washington State and finding that
         "the distinctive punishment culture of each county is reflected in how its officials structure and
         implement monetary sanctions" and that "[ t] he nature and severity of punishment practices
         depend on local culture and chat both the interpretation and enforcement of stat.e law depend on
         where it is being applied, and to whom").
   20. Harvey et al., supra note 15, at 4.
   21,. This is in keeping with the work of other advocacy organizations, including the Brennan Center for
         Justice and the Texas Fair Defense Project, and scholars. See, e.g., Bannon et al., supra note 13; Texas
         Fair Defense Project, Criminalj11-stice Debt (2016), available at http://www.fairdefense.org/crimina1-
         justice-clebt; Neil L. Sobol, Charging the Poor: Criminal justice Debt & Modern-Day Debtors, Prisons 75
         Md.L Rev. 186 (2016).
· 22. See, e.g., Katherine Beckett, et al., Wash. State Minority and Justice Comm'n, The Assessment and
         Consequences of Legal Financial Obligations in Washington State (Aug. 2008), available at http://
         seattlecimes. nwsou rce.com/ABPub/2009/ 02/24/2008780289.pdf; Council of State Gov'cs Justice
         Ctr., Legal Financial Obligations (2016), available at https://csgjusticecenrer.org/courts/
         legal-financial-obligations/.
   23. See, e.g,, Alexes Harris, The Cruel Poverty of Monetary Sanctions, The Society Pages, Mar. 4, 2014,
         available at https://thesocietypages.org/ papers/ monetary-sanctions.
   24. See, e.g., Am. Civil Liberties Union, supra note 4, at 1.
   25. See, e.g., Am. Civil Liberties Union, Ending Modern-Day Debtors' Prisons (2016), available at https://
         www.aclu.org/ feature/ ending-modem-day-debtors-prisons.
   26 .. See Micah West, Financial Conflicts ofInterest and the Funding ofNew Orleans,s Criminal Courts, 101 Cal.
         L. Rev. 521 (2013).
   27. La. Rev. Stat. Ann.§ 13:2496.4.
   28. Id.§ 13:1312 .
  .29. Id.§ 13:1381.4.
   30. Id. § 13:2507.1, repealed by Acts 2014, No. 845, § 2, and re-codified at §13:2496.4, eff. Jan. 1, 2017
         (joining the municipal and traffic courts in New Orleans and their respective judicial expense
         funds into a single consolidated court).
   31. Id. §13:1595.2.
   32. Id. §§ 13:1381.4A.(1)-(2), 32:393, 13:2501.1, amended and reenacted by Acts 2014, No. 845, § 2, eff.
         Jan. 1, 2017.
   33. Id. § 22:822.
   34. See§§ 13:2507.1, 13:2496.4, supra note 30.
   35. Id.
   36. Id.§ 13:1381.4.
   37. Id.§§ 13:2507.1, 13:2496.4, supra note 30.
   38. Id. at 533-34.
   39. Augustus v. Roemer, 771 F. Supp. 1458, 1473 (E.D. La. 1991).
   40. Id. at 1473.



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     41. City of New Orleans Complaint, supra note 17.
     42. See, e.g., Connally v. Georgia, 429 U.S. 245,251 (1977) (holding that the issuance of a warrant violated
         the Fourth and Fourteenth Amendments where justices of the peace received $5 compensation for
         each application for a search warrant only if the warrant was issued); Tumey v. Ohio, 273 U.S. 510,
         532 (1927) (holding that a village mayor serving as judge may not be paid from fees based on a
         defendant's conviction because"[ e]very procedure which would offer a possible temptation to the
         average man as a judge to forget the burden of proof required to convict the defendant, or which
         might lead him not to hold the balance nice, clear, and true between the state and the accused
         denies the latter due process oflaw"); Brown v. Vance, 637 F.2d 272,286 (5th Cir. 1981) (finding that
         a statute in which judges were paid based on the number of cases filed in their court violated due
         process because it encouraged judges to curry favor with law enforcement); West Virginia ex rel.
         Osborne v. Chinn, 121 S.E.2d 610, 615-16 (W.V. 1961) (holding that a statute wh1ch authorized judges
         to be paid out of a fund made up of fines from cases that they tried violated the Due Process

         Clause).
     43. See Tumey v. Ohio, 273 U.S. 510, 532-33 (1927) ("With his interest, as mayor, in the financial condition
         of the village, and his responsibility therefor, might not a defendant with reason say that he feared
         he could not get a fair trial or a fair sentence from one who would have so strong a motive to help
         his village by conviction and a heavy fine?"); Dugan v. Ohio, 277 U.S. 61, 65 (1928) (analyzing the
         possibility, though not present in the case at hand, where a mayor with judicial powers has
         competing duties within his roles); Ward v. Village ofMonroeville, 409 U.S. 57, 2 (1972) (finding that a
         "mayor's executive responsibilities for village finances may make him partisan" and compromise
         his dual role as judge); Rose v. Village ofPeninsula, 875 F.Supp. 442, 452 (1995) (clarifying chat "the
         amount of mayor's court fee revenues is just one measure of whether the mayor may reasonably be
         questioned as being impartial" where judicial and executive functions overlap); Village of Covington
         v. Lyle, 433 N.E. 2d 597 (1982).
     44. Gordon M. Griller et al., National Ctr. for State Courts, Missouri Municipal Courts: Best Practice
         Recommendations, 26-27 (November 2015), available at hnps://www.courts.mo.gov/file.jsp?
         id=95287.
     45. Ferguson Report, supra note 7, at 10.
     46. Supreme Court of Missouri, Municipal Division Work Group, Report to the Supreme Court ofMissouri
         18 (March 1, 2016), available at https://www.courts.mo.gov/file.jsp?id=98093 [hereinafter
         Missouri Municipal Division Work Group].
     47. Id. at 24.
     48. Id. at 26.
     49. Id. at 79.
     50. Id. at 81.
     51. Conference of State Court Adm'rs, Standards Relating to Court Costs: Fees, Miscellaneous Charges and
         Surcharges and a National Survey of Practice 4-5 (June 1986), available at http://cdm1650l.contentdm
         .oclc.org/cdm/ref/collection/financial/id/81 [hereinafter Standards Relating to Court Costs]; West,
         supra note 26, at 529.
     52. Conference of State Court Adm'rs, Position Paper on State judicial Branch Budgets in Times ofFiscal Crisis
         15 (December 2003).
     53. Bannon et al., supra note 13, at 7.
     54. Reynolds & Hall, supra note 2, at 9.
     55. S.C. Code Ann.§§ 56-5-2995, 14-1-201. See also Tex. Code Crim. Proc. Ann. Art. 102.014 ($2-$20 cost
         imposed on offense on violations in school crossing zones to be used in the school crossing guard
         program); Tenn. Code Ann.§ 39-17-439 ($100 alcohol and drug addiction treatment fee paid to the
         alcohol and drug addiction treatment fund); Wash. Rev. Code§ 10.99.080 ($100 domestic violence
         penalty to fund domestic violence advocacy, prevention and prosecution programs).



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56. Maura Ewing, Wantto Clear Your Record? It Will Cost You $450, Marshall Project (June 1, 2016), available
    at https ://www. the marsh all project.org/2016 / 05 / 31 /wan t-to-c lear-your-record-i t-ll-cost-you-
    450 ?utm_medium = email& utm_campaign = newsletter& utm_source =opening-statement&. utm
    _term=newsletter-20160601-499#.lJenWiIJd.
57. Id.
58. See, e.g., Tenn. Code Ann.§§ 40-24-107; 16-18-305.
59. Id. § 67-4-606.
60. In for a Penny, supra note 15, at 60-61.
61. See, e.g., Developments in the Law: Policing and Profit, 128 Harv. L. Rev. 1723 (2015) [hereinafter Policing
    and Profit]; Sarah Stillman, Get Out of]a.ii, Inc., The New Yorker, June 23, 2014, available at http://
    www.newyorker.com/magazine/2014/06/23/get-out-or:jail-inc; Terry Carter, Privatized Probation
    Becomes A Spiral ofAdded Fees and jail Time, A.B.A.]., Oct. 1, 2014, available at http ://www.abajournal
    .com/magazine/article/ probationers _priso n_p rivatized _supervision_becomes _ a_spiral__ of_
    added __Jees_j; Human Rights Watch, Profiting From Probation: America's "Offender-Ft4nded" Probation
    Industry 29 (2014), available at https://www.hrw.org/sites/default/files/reports/us02l4_
    ForUpload_0.pdf[hereinafter Human Rights Watch]. In Montana, the offender-funded model is
    statutorily required. See Mont. Code Ann.§ 46-23-1005(3).
62. Human Rights Watch, supra note 61, at 44-45.
63. See, e:g., Cal. Penal Code§§ 1204 (West 2016), 1463.007, 1463.010; Fla. Stat. Ann.§ 938.35; Tenn.
    Code Ann.§§ 40-24-105, 40-28-205; Wash. Rev. Code§§ 3.02.045, 9.94A.760, 36.18.190; Nev. Rev.
    Stat. § 176.064; Tex. Code Crim. Proc. Ann. Arc 103.0031; Ga. Code Ann. § 15-21-12; Ala. Code §
    12-17-225.7; Miss. Code Ann.§ 19-3-41(2); Mont. Code Ann. § 46-17-402.
64. See, e.g., Cal. Penal Code§ 1205(e) (imposition of a fee not exceeding $30 paid to collecting agency);
    Fla. Stat .. §§ 28.246(6), 938.35 (collection fee ofup to 40%); Nev. Rev. Stat.§ 176.064(2)(c) (the
    collection agency's compensation is capped at the amount of the collection fee); Tenn. Code Ann.§
    40-24-105(d)-(e) (collection agency fee ofup to 40%); Tex. Code Crim. Proc. Ann. art. 103.0031(b)
    (collecti~n fee of up to 30% may be authorized); Wash. Rev. Code §§ 3.02.045 (agreements with
    collection agencies may authorize the retention of any portion of the interest collected on debts),
    9.94a.760(12) (the cost of collection services during a period of community supervision to be paid
    by the offender), 36.18.190 (agreements with collection agencies may authorize the retention of any
    portion of the interest collected on debts).
65. Fla. Stat. Ann.§§ 28.246(6) (West 2016), 938.35 (West 2016); Tenn. Code Ann.§ 40-24-105(d)-(e)
    (West 2016); see Rebekah Diller, Brennan Ctr. for Justice, The Hidden Costs ofFlorida's Criminal Justice
    Fees 21 (2010), available at http://www.brennancenter.org/sites/default/files/legacy/Justice/
    FloridaF&.F.pdf.
66. Iowa Code§§ 321.40(9), 321.210B (empowering private debt collection designees to enter and create
    installment payment agreements with debtors in default and ordering that holds on licensing and
    vehicle registration be lifted if private designee notifies the county treasurer that a satisfactory
    agreement has been made).
67. Missouri Municipal Division Work Group, supra note 47, at 80-81 (recommending that the Missouri
    General Assembly give municipalities authority to raise revenue through taxes, rather than court
    costs, fees, and surcharges, in order to pay for law enforcement).
68. S. B. 5, 98th Gen. Assemb., Reg. Sess. (Mo. 2015) (enacted), inserting§ 479.359.
69. Id.
70. Jennifer S. Mann, Muni Court Reform Law Takes Effect Friday; Many Warrants, Fines Are Being Cancelled
    Early, St. Louis Post-Dispatch, Aug. 23, 2015, available at http://www.stltoday.com/news/local/
    crime-and-courts/muni-court-reform-law-takes-effect-friday-many-warrants-fines/article_a79
    0197b-b58b-548a-9616-934a36649358.btml.
71. Alex Stuckey, Cap on Non-Traffic Violation Revenue Passed by Missouri Senate, St. Louis Post-Dispatch,



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         Jan. 28, 2016, available at http://www.srltoday.com/news/local/govt-a.nd-politics/cap-on-non-
         traffic-violation-reven ue-passed-by-m issouri-senate / article _:09 3cffb 2-67a6-54f6-97b8-7bc6f4 e
         3a986.html.
     72. Okla. Stat. Ann. tic. 47, § 2-117, D-E.
     73. H.B.1400, § 3-6.05, 2015 Leg., (Va. 2015) (funds in excess of revenue caps are directed to the state's
         Literary Fund).
     74. Fla. Stat. § 316.660. In Florida, however, the consequence of exceeding the revenue cap from traffic
         citations is that the municipality or county is required to submit a report co the Legislative Auditing
         Committee. It is questionable whether this reporting requirement is sufficient to alter incentives.
     75. A.B.A. Comm. on State Court Funding, Black Letter Recommendations (2004); Reynolds & Hall, supra
         note 2, at 7. See also David Bresnick, Revenue Generation By the Courts, in Handbook of Court
         Administration and Management, 355,359 (Steven W. Hays & Cole Blease Graham,Jr. eds., 1993);
         Griller et al., supra note 44, at 26; Nat'l Ctr. for State Courts, State of Oregon; Report to the Joint
         Interim Committee on State Justice System Revenues 63 (October 2010), available at http ://Library.state.
         or.us/repository/2010/201011300919042/index.pdf; Wisconsin Supreme Court Planning and
         Policy Comm., Final Report to the Planning and Policy Advisory Committee ofthe Wisconsin Supreme Court
         (February 2005); Missouri Municipal Division Work Group, supra note 46, at 78.
     76. Reynolds & Hall, supra note 2, at 8-9.
     77. States with unified judicial systems include Alabama, Alaska, Arizona, Connecticut, Florida,
         Georgia, Idaho, Illinois, Kansas, Kentucky, Michigan, Missouri, Nebraska, New Hampshire, New
         Jersey, New York, North Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South
         Carolina, South Dakota, Vermont, Virginia and Wisconsin, see Nat'! Ctr. for State Courts, Court
         Unifi ation: State Links, available at http://,vww.ncsc.org/Topics/Court-Managemenr/Court-
         Unification/ S cate-Links.aspx? cat= States%2 0Legally%20Described %20as%20Unified.
     78. For example, Florida's Constitution provides that all funding for the offices of the clerks of the
         circuit and county courts shall be provided by filing fees for judicial proceedings and service
         charges and costs for performing court-related functions. F.S.A. Const. art. 5 § 14.
     79. Reynolds & Hall, supra note 2, at 8.
     80. Standards Relating to Court Costs, supra note 51, at 7-8.
     81. This was done by Virginia in 1994. See Rebekah Diller, et al., Brennan Ctr. for Justice, Maryland's
         Parole Supervision Fee: A Barrier to Reentry 22-23 (2009), available at https://www.brennancenter.org/
         sites/ default/files/legacy/ publications/MD. Fees. Fines. pdf
     82. Fla. Stat. Ann. §§ 775.083 (court costs of $50 or $20 for county crime prevention), 938.055 ($100
         fine to the Operating Trust Fund of the Department of Law Enforcement to be used by the state
         wide criminal analysis laboratory system), 938.01 ($3 court cost deposited into the Additional
         Court Cost Clearing Trust Fund, 92% allocated to the Department of Law Enforcement Criminal
         Justice Standards and Training Trust Fund,); Ga. Code Ann.§§ 15-21-73, 15-21-74 (West 2016)
         (additional assessment to be appropriated to fund law enforcement); La. Stat. Ann. § 15.571.11,
         amended by 2016 La. Sess. Law Serv. Act 233 (H.B. 79) (12% of criminal justice debt amount
         distributed to the sheriff's general fund); Ky. Rev. Stat. Ann. § 24A.176 (distribution of costs for
         criminal cases for payment of expenses for operation of the local government's police department
         or contracted police services); Iowa Code§ 911.3 (law enforcement initiative surcharge of$125);
         Mo. Rev. Stat. § 488.5336 (surcharges for police officer training); N.H. Rev. Stat. Ann.§ 504-A:13
         (West 2016) ($5 of the probation supervision fee allocated to the police training fund); Tenn. Code
         § 39-17-428 (50% of mandatory minimum fines for drug offences to the agency responsible for the
         investigation and arrest).
     83. Tenn. Code§ 39-17-428 (c)(l).
     84. See Ferguson Report, supra note 7, at 10.
     85. See, e.g., Tex. Code Crim. Proc. Ann. art. 102.012(a) (West 2015); Okla. Stat. Ann. tit. 22, §§ 305.1,



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     991d(A)(2)(West 2016).
 86. Wayne A. Logan & Ronald F. Wright, Mercenary Criminal justice, 2014 U. Ill. L. Rev. 1175, 1188. See,
     e.g., D.C. Code§ 5-335.01 (2016) (describing a "post-and-forfeiture" system); Pam Louwagie, Some
     Drivers Find that Cash Can Make the Ticket Go Away, Star Tribune, April 16, 2012, available at http://
     www.startribune.com/some-drivers-find-that-cash-can-make-rhe-ticket-go-away/144099386/.
 87. Cal. Gov't Code § 29550.l; Colo. Rev. Stat. § 30-1-104; Mich. Comp. Laws. § 801.46; Minn. Stat.
     ann. § 641.12; Ohio Rev. Code Ann. § 341.12; Wash. Rev. Code Ann § 70.48.390. See Markadonatos
     v. Village of\Voodridge, 760 F.3d 545 (7th Cir. 2014) (divided opinion as to whether local booking fees
     only apply on conviction).
 88. See Policing and Profit, supra note 61; see also Katherine Baicker & MireiJle Jacobson, Finders Keepers:
     Forfeiture Laws, Policing Incentives, and Local Budgets, 91 J. of Pub. Econ. 2113 (2007).
 89. See Logan & Wright, supra note 86, at 1187-88.
 90. Griller, supra note 44, at 6.
 91. Id. at 7.
 92. Missouri Municipal Division Work Group, supra note 46, at 81-82.
 93. Pa. Dep't of Corrs., Budget Request FY 15-16, Testimony before House Appropriations Committee (March
     2015), available at http ://www.pabudget.co1n/Display/SiteFiles/ 154/Documents/FY%20
     2015-16%20GF%20Budget/Hearings/Written%20Submitted%20Testimony/Corrections%20
     Testimony.pdf.
 94. Inimai Chettiar et al., Brennan Ctr. for Justice, Reforming Funding to Reduce Mass Incarceration 15
     (2013), available at https://www.brennancenter.org/sites/defaulc/fi1es/publications/REFORM_
     FUND ___ MASS_INCARC_web_0.pdf
 95. Criminal]ustice Court Servs. Office (CA), SB 678 Year 2 Report: Implementation ofthe California Com-
     mmiity Corrections Performance Incentives Act of2009 (2012), available at http://www.courts.ca.gov/
     documents/SB678-Year-2-report.pdf.
 96. Chettiar et al., supra note 94, at 16.
 97. Human Rights Watch, supra note 62, at 62 (discussing the need for government oversight of private
     probation companies, and examining GA's County and Municipal Probation Advisory Council);
     H.B. 310, 153rd Gen. Assemb. Reg. Sess. (Ga. 2015).
 98. See, e.g., Walter Johnson, Ferguson's Fortune 500 Company, Atlantic, Apr. 26, 2015, available at http://
     www.theatlantic.com/politics/archive/2015/04/fergusons-fortune-SOO-company/390492/
     (drawing a connection.between the town's failure to tax a Fortune 500 company and the town's
     pattern of policing for revenue). See also Ferguson Report, supra note 7 at 10.
 99. See, e.g.; Ferguson Report, supra note 7, at 4 (noting a "particular hardship" for the "most vulnerable
     residents, especially upon those living in or near poverty").
100. See generally, Jessica Eaglin & Danyelle Solomon, Brennan Ctr. for Justice, Reducing Racial and Ethnic
     Disparities In Jails: Recommendations For Local Practice, 9-27 (2015); available at https://www
     .brennancenter.org/sites/ defau lt/fi les/publications/Raci al %2 0Disparities%20Repon%20062
     515.pdf.
101. See, e.g., Cal. Penal Code § 370 (prohibiting people from "obstruct[ing] the free passage of any ...
     public park, square, street, or highway").
102. See, e.g., Ga. Code Ann. § 40-5-70 (providing for a fine of at least $200 and mandatory driver's
     license suspension).
103. Chris Francescani, Loose Cigarette Arrests in NYC Drop in Year After Eric Garner's Death, Wall St.]. (July
     15, 2015), available at http://www.wsj.com/articles/loose-ciga.rette-arrests-in-nyc-
     drop-in-year-after-eric-garners-dea.rh-1436992014.
104. See, e.g., Karen Dolan &Jodi L. Carr, Inst. for Policy Studies, The Poor Get Prison: The Alarming Spread
     of the Criminalization of Poverty 23-26 (2015), available at http://www.ips-dc.org/wp-content/
     uploads/2015 / 03/IPS-The-Poor-Get-Prison-Fi nal. pdf ( chronicling the increasing



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          criminalization of poverty); Douglas N. Evans, John Jay College of Criminal Justice, The Debt Pen-
          alty: Exposing The Financial Barriers to Offender Reintegration (2014 ), available at https://jjrec.files.
          wordpress.com/2014/08/debtpenalty.pdf.
     105. See, e.g., N.H. Rev. Stat. Ann.§ 490:26-a(II-a) ( ''The supreme court may establish by rule an equi-
           table fee of not less than $25 to be added to a fine whenever a court extends the time for the pay-
           ment of the fine." Such a fee "shall be paid prior to or simultaneously with the payment of the
           fine.").
     106. For example, defendants in Iowa can, with the court's permission, enter i·nto an installment pay-
           ment plan. See Iowa Code § 909.3. If, however, a defendant fails to pay a monthly installment pay-
           ment within 30 days, the total court debt is considered delinquent and up to 25% of the debt may
           be added to the delinquent amount. See Iowa Ct. R. 26.6 (2016).
     107. See, e.g., N.J. Stat. Ann.§ 40:23-6.53 (providing that up to 22% of any _amount collected can be
          imposed as a collection fee). Collection costs function as a poverty penalty when they are only
          imposed on individuals who are unable to pay their financial obligations when imposed and are
           therefore subject to collection procedures.
     108. See, e.g., La. Code Crim. Proc. Ann. art. 886(a) (providing unspecified "judicial interest" for unpaid
           fines "plus all costs of the criminal proceeding and subsequent proceedings necessary to enforce
           the judgment in either civil or criminal court, or both").
     109. See, e.g., N.H. Rev. Stat. Ann.§ 490:26-a(II-a) (authorizing a $25 fee for late payments or payment
           plans).
     110. See, e.g., Cal. Penal Code§ 1205(6) ("If time has been given for payment or it has been made payable
          in installments, the court shall, upon any default in payment, immediately order the arrest of the
          defendant and order him or her to show cause why he or she should not be imprisoned. If the fine,
           restitution order, or installment, is payable forthwith and it is not so pa.id, the court shall without
          further proceedings, immediately commit the defendant to the custody of the proper office to be held
          in custody until the fine or the installment thereof, as the case may be, is satisfied in full.") (empha-
          sis added).                                                                                          '
     111. See, e.g., Minn. Stat. § 588.02 (providing courts with significant latitude to "punish a contempt by
          fine or imprisonment, or both").
     112. See, e.g., Ga. Code Ann. § 42-8-103 (providing for "pay-only probation" which "means a defendant
          has been placed under probation supervision solely because such defendant is unable to pay the
          court imposed fines and statutory surcharges when such defendant's sentence is imposed").
     113. See Sobol, supra note 21, at 75.
     114. See Lawyers Comm. for Civil Rights of the San Francisco Bay Area, Not Just a Ferguson Problem: How
          Traffic Courts Drive Inequality in California 9 (2016), available at http://www.lccr.com/wp-content/
           uploads/N ot-J use-a- Ferguson-Problem-How-Traffic-Courts-Drive-Inequality-in-California-
          4.20 .15. pdf [hereinafter Not Just a Ferguson Problem]; see also Joseph Shapiro, How Driver's License
          Suspensions Unfairly Target The Poor, NPR, Feb. 6, 2015, available at http://www.npr.org/2015/
          01/ 05 / 372691918/how-d rivers-I icen se-suspensions-u nfai rl y-target-che-poor.
     115. California alone suspended four million licenses in 2014. Lawyers Comm. For Civil Rights, s;pra
          note 114 at 4.
     116. See Jessica Eaglin, Driver's License Suspensions Perpetuate the Challenges ofCriminalJustice Debt, Brennan
          Ctr. for Justice (Apr. 30, 2015); Shapiro, supra note 123.
     117. See Am. Ass'n of Motor Vehicle Adm'rs, Best Practices Guide to Reducing Suspended Drivers 2 (2013),
          available at http://www.aa.mva.org/Suspended-and-Revoked-Drivers-Working-Group/ (finding
          that "suspending driving privileges for non-highway safety related reasons is not effective" and
          that "the costs of arresting, processing, administering, and enforcing social nonconformance
          related driver license suspensions create a significant strain on budgets and other resources and
          detract from highway and public safety priorities").



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 118. Id. at 17-18.
 119. These suspensions inhibit the ability of government to collect amounts due from indigent persons
       irhile imposing a significant "burden on departments of motor vehicles, law enforcement, the
       courts and society. DMVs for example, incur exorbitant costs to create, program, and process these
       newly legislated suspension types." See id. at 2.
 120. Bell v. Burson, 402 U.S. 535, 539 (1971) (holding that driver's licenses "may become essential in the
       pursuit of a livelihood" and "are not to be taken away without that procedural due process required
       by the Fourteenth Amendment"); cf Dixon v. Love, 431 U.S. 105 (1977) (holding that Illinois driv-
       er's license suspension statute, which allowed for summary revocation oflicenses where someone
       was repeatedly convicted of traffic offenses, comported with due process); Mackey v. Montrym, 443
       U.S. 1 (1979) (upholding Massachusetts summary driver's license suspension procedure because
       there is an immediate postsuspension hearing); see also Gupta & Foster, supra note 18, at 6 ("If a
       defendant's driver's license is suspended because of failure to pay a fine, such a suspension may be
       unlawful if the defendant was deprived of his due process right to establish inability to pay....
       Accordingly, automatic license suspensions premised on determinations that fail to comport with
       Bearden and its progeny may violate due process.") (citations omitted).
 121. See Bannon et. al., supra note 13, at 13-17.
 122. 124. Id. at 20-25.
 1.23. Se~ Gupta & Foster, supra note 18; Not Just a Ferguson Problem, supra note 114.
 124. See Nagrecha, et. al., supra note 15; deVuono-powell, et al., supra note 15, at 9; Diller, supra note 65,
       at 16 (finding that where amounts are not linked to an ability to pay, courts functionally require
       family, friends, or employers to put up the required money).
 125. ·deVuono-powell, et al., supra note 15, at 27-28.
 126.. As an example, in the student loan repayment context, debtors are entitled to deferments in cer-
       t.ain situations and may not be liable for interest payments during the deferment. See generally Nat'!
       Consumer Law Ctr., Student Loan Law, 4.3 Deferments (5th ed. 2015).
 127. A similar safeguard is used in the student loan context, where borrowers are entitled to economic
       hardship deferments (with no interest accrual on subsidized government loans) for up to 3 years
       over the life of their repayment based on being unemployed, receiving public assistance benefits or
       working full-time but making less than 150% of poverty guidelines. See 34 C.F.R. §§ 682.210 (s)( 6)
       (2016) (FFEL), 685.204(g) (2016) (Direct Loan). Debtors can apply for a deferment by completing
       a simple form or speaking with their servicer over the phone.
 128. See Michael D. Thompson & Rachel L. McLean, Council of State Gov'ts, Justice Ctr., Bureau of
       Justice Assistance, Repaying Debts, 22-23 (2007) .
.129. In New Jersey, the Motor Vehicles Affordability and Fairness Task Force Report recommended
       against using drivers' license suspension as collection tool for indigent people and contained a
       number of policy recommendations. See Motor Vehicle Affordability Fairness and Taskforce, Final
       Report (2006), available at http://www.statc.nj.us/mvc/pdf/About/AFTF_final_02.pdf
 130. See Am. Ass'n of Motor Vehicle Adm'rs, supra note 117, at 2--3.                         .
 131. See Jobs with Justice, State Laws and Statutes That Suspend Professional Licenses and Certificates (2014 ),
       available at bttp://ww\v.jwj.org/wp-content/uploads/2015/02/Statc-Laws-and-Stacutes-That-
       Suspend-Prnfessional-Licenses-and-Certificates.pd f (compiled by the National Consumer Law
       Center).
 132. 134. Id. at 18-19.
 133. Alternatives for Non-Violent Offenders Task Force, Report and Recommendations 2 (2009), available
       ,tt http ://leg2 .state .va.us/ dls/h &sdocs.nsf/By+ Year/RD4302009 /$ file/RD430. pdf (describing
       a group convened by the Secretary of Public Safety which included "a diverse group of stakeholders
       from across the criminal justice system, including judges, Commonwealth's Attorneys, sheriffs,
       police chiefs, regional jail administrators, the DOC, the Attorney General's Office, and the Vir-



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          ginia Criminal Sentencing Commission, among others").
     134. Carl Reynolds, et al., Council of State Gov'ts Justice Ctr & Tex. Office of Court. Admin., A Frame-
          work to Improve How Fines, Fees, Restitution, and Child Support are Assessed and Collected from People Con-
          victed of Crimes Interim Report 26 (March 2, 2009) (citing Carl Fomoso, Determining the Collectability
          of Child Support Arrears (2003); Vicky Turetsky, Ctr. for Law and Social Policy, Staying in Jobs and Out
          of the Underground: Child Support Policies that Encourage Legitimate Work (March 2007), available at
          http://www.clasp.org/resources-and-publications/files/0349.pdf), available at https://
          csgjusticecenter.org/wp-content/uploads/2013/07/2009-CSG-TXOCA-report.pdf. For an
          example of a state statute reflective of such a policy, see Or. Admin. R. 255-065-0005(5) (capping
          collections at 20% of take home salary, unless the defendant has significant liquid assets).
     135. See Nat'! Consumer Law Ctr., Student Loan Law, 3.3.3.3 Calculating the ]BR, PAY or REPAYE Repay-
          ment Amount (5th ed. 2015).
     136. In the student loan repayment context, the balance of a student loan that is repaid through an
          income-based repayment plan is waived after a certain number of payments have been made. See
          Nat'! Consumer Law Ctr, Student Loan Law, 3.3.3.8 IBR/PAYE/REPAYE Forgiveness (5th ed. 2015).
     137. See, e.g., Joy Radice, Administering]ustice: Removing Statutory Barriers To Reentry, 83 U. Colo. L. Rev.
          715 (2012) (describing New York state's system of issuing certificates co offenders in order to
          restore certain rights and privileges).
     138. See Wash. Rev. Code § 9.94A.760 et seq. (providing that the state shall have the same rights in
          enforcing a civil judgment as any other judgment creditor).
     139. Ro opal Patel & Meghna Philip, Brennan Ctr. for Justice, Criminal Justice Debt, a Toolkit for Action
           17-18 (2012), available at https://www.brennancenter.org/sites/default/files/legacy/
          publications/Criminal%20Justice%20Debt%20Background%20for%20web.pdf (comparing
          fines and fees charged by state and local governments to credit card entities).
     140. See, e.g., 15 U.S.C. § 1673. Currently, the federal garnishment limits prohibit garnishrrie·nt below
          the lower amount of either 30 times the federal minimum wage or 25% of disposable earnings,
          meaning roughly post-tax earnings. This means that if someone makes only 30 times minimum
          wage post-tax, 0% of his or her earnings would be available for garnishment.
     141. See Daniel Denvir, Philly Courts Rein In Debt Collection Campaign, Philadelphia City Paper, Oct. 9,
          2014, available at h tr.p://www.cheinvestigar.ivefond.org/blo g/2052/ philly_courts_
          rein_in_ debt-collect ion_ campaign/.
     142. 18 U.S.C. § 3613 (b) ("The liability to pay a fine shall terminate the later of 20 years from the entry
          of judgment or 20 years after the release from imprisonment of the person fined, or upon the death
          of the individual fined.").
     143. 146. 18 U.S.C. § 3013(c).
     144. Vera Inst. of Justice, How To Use Structured Fines (Day Fines) as an Intermediate Sanction (1996), avail-
          able at https://www.ncjrs.gov/pdffiles/156242.pdf
     145. Douglas C. McDonald et al., Nat'! Inst. ofJustice, Day Fines in American Courts: The Staten Island and
          Milwaukee Experiments, 2-3 (1992), available at https://www.ncjrs.gov/pdffilesl/Digitization/
          136611NCJRS.pdf.
     146. Id. at 2.
     147. Edwin W. Zedlewski, Nat'l Inst. of Justice, Alternatives to Custodial Supervision: The Day Fine, 5-6
          (2010), available at https://www.ncjrs.gov/pdffilesl/nij/grants/230401.pdf
     148. U.S. Const. amend. VI ("In all criminal prosecutions, the accused shall enjoy the right to a speedy
          and public trial, by an impartial jury of the state and district wherein the crime shall have been com-
          mitted, which district shall have been previously ascertained by law, and to be informed of the nature
          and cause of the accusation; to be confronted with the witnesses against him; to have compulsory
          process for obtaining witnesses in his favor, and to have the assistance of counsel for his defense.").
     149. A study conducted by NPR and the Brennan Center in 2014 revealed that 43 states and the District



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     of Columbia charge fees for public defenders. See Emma Anderson et al., State by State Court Fees,
     NPR, May 19, 2014, available at http://www.npr.org/2014/05/19/312455680/state-by-state-court-
     fees. Hawaii, Mississippi, Nebraska, New York, Pennsylvania, Rhode Island, and Utah, do not
     charge public defender fees, but Hawaii, Mississippi, Nebraska, Rhode Island, and Utah charge
     ocher fees for the exercise of Sixth Amendment rights. See infra notes 153-160.
150. Some states, including Nebraska, charge defendants a fee for convening a jury. See, e.g., Shaw v. State,
     22 N.W. 772, 773 (Neb. 1885). Other states, including Rhode Island and Mississippi, charge defen-
     dants the "costs of the prosecution," essentially taxing the costs of the trial to the defendant. See
     12 R.I. Gen. Laws Ann.§ 12-21-20(a) ("If, upon any complaint or prosecution before any court, the
     defendant shall be ordered to pay a fine, enter into a recognizance or suffer any penalty or forfei-
     ture, he or she shall also be ordered to pay all costs of prosecution, unless directed otherwise l:,y
     law."); Miss. Code. Ann. § 99-19-77.
151. In Washington, defendants must pay a per diem and_mileage for their jurors. See Wash. Rev. Code
     §§ 3.50.135, 10.46.190, 35.20.090.
152. See, e.g., Tex. Gov't Code Ann. § 102.021 (charging convicted defendants a mandatory $5 fee for
     summoning a jury).
153. Hawaii and Utah impose witness fees on defendants who are able to pay. See Haw. Rev. Stat. Ann.
     § 802-7; Utah Code Ann.§ 78B-1-150.
154. See,~-!;, Tex. Gov't Code Ann. § 102.021 (requiring convicted defendants to pay a mandatory $5 fee
     for summoning a witness).
155. See, e.g., Mich. Comp. Laws§ 769.lf(allowing the court to order the defendant to reimburse "[t]he
     salaries or wages, including overtime pay, oflaw enforcement personnel for time spent responding
     to the incident from which the conviction arose, arresting the person convicted, processing the
     person after the arrest, preparing reports on the incident, investigating the incident, and collect-
     ing and analyzing evidence, including, but not limited to, determining bodily alcohol content and
     determining the presence of and identifying controlled substances in the blood, breath, or urine");
     Mo. Rev: Stat.§ 488.029 (charging $150 to convicted defendants where a "crime laboratory makes
     analysis of a controlled substance").
156. See, e.g., Tenn. Code Ann.§ 40-25-123 ("A defendant convicted of a criminal offense shall pay all
     the costs that have accrued in the cause."); Wash. Rev. Code Ann. § 10.01.160 (allowing courts to
     charge defendants for "expenses specially incurred by the state in prosecuting the defendant").
157. See, e.g., Mich. Comp. Laws§ 769.lk(b)(A)-(C) ("If a defendant enters a plea of guilty or nolo con-
     tendere or if the court determines after a hearing or trial that the defendant is guilty, ... The court
     may impose any or all of the following: ... any cost reasonably related to the actual costs incurred
     by the trial court without separately calculating those costs involved in the particular case, includ-
     ing, but not limited to, the following: Salaries and benefits for relevant court personnel. Goods
     and services necessary for the operation of the court. Necessary expenses for the operation and
     maintenance of court buildings and facilities.").
158. Joseph Shapiro, As Court Fees Rise, The Poor Are Paying the Price, NPR, May 23, 2014, available at http://
     www.npr.org/2014/ OS/ 19/31215 8516 /i ncreasing-court.. fees-pu nish-the-poor.
159. Nac'I Legal Aid and Defender Ass'n, Race to the Bottom: Trial Level Indigent Defense Systems in Michigan
     32 ( June 2008 ), ai ailable at http://www.nlada.net/sites/default/files/rni_racetothe
                              1


     bottomjseri06-2008_report.pd[
160. Many states allow courts to impose statutorily-defined fines as a punishment for the commission
     of a crime, which increase with the seriousness of the conviction. See, e.g., N.H. Rev. Stat. Ann. §
     651:2 ("A fine may be imposed in addition to any sentence of imprisonment, probation, or condi-
     tional discharge .... The amount of any fine imposed on: (a) Any individual may not exceed $4,000
     for a felony, $2,000 for a class A misdemeanor, $1,200 for a class B misdemeanor, and $1,000 for a
     violation."). See also Ga. Code Ann. §§ 17-10-3, 17-10-4 (2016); Ind. Code Ann. §§ 35-50-3-1,



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          35-50-3-2; Iowa Code Ann. §§,902.9, 903.1; Kan. Stat. § 21-6611; Ky. Rev. Stat. Ann. § 534.040;
          Mich. Comp. Laws Ann. §§ 750.503, 750.504, 750.505; Neb. Rev. Stat. § 28-106; Nev. Rev. Stat. §§
          193.130, 564.150; S.D. Codified Laws §§ 22-6-1, 22-6-2; Tenn. Code Ann. § 40-35-111; Tex. Penal
          Code Ann.,§§ 12.21-12.23=, 12.32-12.35; Wash. Rev. Code§§ 9.92.010, 9.92.020, 9.92.030. This
          system of tiered fines creates an incentive for defendants to plead guilty to lesser included offenses
          and forgo trial, rather than risk the higher financial penalty of conviction of a more serious
          offense.
     161. Many states charge defendants and convicted persons a fee for, or the actual costs of, their incar-
          ceration, including heath care costs. See, e.g., S.D. Codified Laws § 24-2-28 (charging incarcerated
          persons "the cost of the inmate's confinement which includes room and board charges; medical,
          dental, optometric, and psychiatric services charges; vocational education training; and alcohol-
          ism treatment charges"). See also Cal. Penal Code§§ 1203.lm(a), 1209, 1209.5; Fla. Stat.§ 951.033;
          Ga. Code Ann.§§ 42-1-4, 42-4-51, 42-4-71, 42-5-55; Ky. Rev. Stat. Ann. § 534.040; La. Code Crim.
          Proc. Ann. art. 890.2; Mich. Comp. Laws Ann.§ 774.22c; Minn. Stat.§ 244.18; Tex. Code Crim. Proc.
          Ann. § art. 42.038; Wash. Rev. Code § 9.94A.760. Thus, defendants who go to trial are risking sub-
          stantially more expensive sentences due to longer periods of incarceration.
     162. Lindsay Devers, Bureau of Justice Assistance, Plea and Charge Bargaining: Research Summary (2011),
          available at https://www.bja.gov/Publications/PleaBargainingResearchSummary. pdf
     163. See Ann K. Wagner, The Conflict over Bearden v. Georgia in State Courts: Plea-Bargained Probation Terms
          and the Specter ofDebtors' Prison, 2010 U. Chi. Legal F. 383, 387-88 (2010).
     164. Compare U.S. v. Zink, 107 F.3d 716, 719-20 (9th Cir. 1997) ( "Although it is questionable whether the
          record suggests that Zink may be able to pay the [$5.8 million] of restitution ordered, Zin k's clear
          acquiescence in the restitution order relieved the district court of any independent obligation to
          further determine Zink's ability to pay restitution. Under these circumstances, we cannot say that
          the restitution order seriously affects the fairness, integrity, or public reputation of Zink's pro-
          ceedings, such char rhe order amounts co 'plain error."'); State v. Nordahl, 680 N.W.2d 247, 251-52
          (N.D. 2004) (holding that "[i]f a defendant agrees to restitution as part of a plea agreement, he is
          not entitled to a hearing to determine whether he has the ability to pay restitution" at the time of
          revocation, because ability to pay is considered at sentencing); and Dickey v. State, 570 SE2d 634,
          636 (Ga. Ct. App. 2002)(holding that probation could be revoked for failure to pay restitution,
          where the restitution payments were negotiated as part of a plea agreement.), with Jordan v. State,
          939 S.W.2d 255 (Ark. 1997) (holding that in the context of plea bargained restitution, "[w] here
          there is no determination that the failure to pay restitution is willful, it is clear that a probationer
          cannot be punished by imprisonment solely because of a failure to pay.") and Cain v. City of New
          Orleans, 2016 WL 2962912 *7 (E.D. La. May 23, 2016) (order denying defendants' 1~otion to dis-
          miss) (finding that Nordahl can be distinguished from cases involving a change in circumstances
          in ability to pay and cases involving "mandatory financial obligations," which "a criminal defen-
          dant cannot voluntarily offer to pay").
     165. See Amer. Bar Ass'n, AB.A. Standards for Crimina!Justice, Standard 14-4.1 Diversion and Other Alter-
          native Resolutions, available at http://www.americanbar.org/publications/ criminal_justice __
          section_archive/crimjust.. standards_guiltypleas __ blkold.html ("An offender's eligibility to
          participate in diversion should not depend on his or her ability to pay restitution or other costs.").
          See also Dirico v State, 728 So.2d 763, 767 (Fla. Dist. Ct. App 1999) (finding plea bargain provision
          stating"Defendanc specifically waives ability to argue inability to pay and acknowledges that fail-
          ure to meet this restitution schedule will result in the imposition of the suspended sentence" vio-
          lated the Fourteenth Amendment).
     166. See Ctr. for Court Innovation, Red Hook Community Justice Ctr., available at http://www
          .courtinnovat:ion.org/project/red-hook-community-justice-center (last visited Aug. 14, 2016).
          Critics have expressed concern about the potential net-widening effect of drug courts, in



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     particular. See Eric J. Miller, Embracing Addiction: Drug Courts and the False Promise ofJudicial Interven-
     tionism, 65 Oh. St. L. J. 1479 (2004). See also, Allegra McLeod, Decarceration Courts: Possibilities and
     PerilsofaShiftingCriminalLaw, 100 Geo. L.J.1587 (2012).
167. See Ed Spillane, Why I Refuse to Send People to Jail for Failure to Pay Fines, Wash. Post, April 8, 2016,
     available at h ttps ://www.washingtonpost.com/posteverythi ng/wp/2016/ 04/ 08/why-i-refuse-to-
     send-people-to-jail-for-failure-to-pay-fines /?utm_term = .03c8lae5de2. Judge Spillane, the pre-
     siding judge of the College Station Municipal Court and president of the Texas Municipal Courts
     Association, described the kind of situation in which he uses discretion to avoid an unjust imposi-
     tion of criminal justice debt: "Melissa]. not only couldn't pay her fines, but she also couldn't be
     away from her children at night or on weekends, since she couldn't afford child care. So we set her
     up on a small payment plan, an arrangement that sometimes works for poor defendants. When it
     later became apparent that she could not afford that, we waived the fine-but only after she took a
     free class on the use of child safety seats, addressing what was arguably the most concerning
     charge against her." Id.
168. At least one scholar has raised concerns about the constitutionality under the Thirteenth Amend-
     ment of using community service as an alternative to certain types of criminal justice debt. See
     Noah Zatz, A New Peonage?: Pay, Work, or Go to Jail, 39 Seattle U. L. Rev. 927,931 (2016). The Thir-
     teenth Amendment provides that "[n]either slavery nor involuntary servitude, except as a punish-
     ment for crime whereof the party shall have been duly convicted, shall exist within the United
     States, or any place subject to their jurisdiction." U.S. Const. amend. XIII, § 1. Zatz bas suggested
     that community service imposed as a means to satisfy certain fees may not qualify for the "pun-
     ishment for crime" exemption to that constitutional mandate, and thus constitutes involuntary
     servitude. Zatz, supra at 932-33. No judicial decisions, however, have considered that proposition.
169. See, e.g., Ga Code Ann. § 42-8-l02(d) (authorizing judges to assign a dollar value equivalent to the
     current federal minimum wage or higher to each hour of community service).
170. For an early report discussing these concerns, see Rolando V. de! Carmen & Eve Trook-White, Nat'!
     Inst. of Corrs., Liability Issues in Community Service Sanctions (1986), available at htrps:// s3.amazonaws
     .com/static.nicic.gov/Library/004~34.pdf.
171. Adam Liptak, Debt to Society is Least of Costs for Ex-Convicts, N.Y. Times, Feb. 23, 2006, available at
     http://www.nytimes.com/2006/02/23/us/debt-to-society-is-least-of-costs-for-exconvicrs.hrml
     (documenting policies that require probationers to purchase insurance at the rate of$15 per week
     in order to participate in court-ordered community service).
172. See John B. Mitchell & Kelly Kunsch, OfDriver's Licenses and Debtor's Prison, 4 Seattle J. Soc. Just. 439,
     465 (2005).
173. New York State, Div. of Criminal Justice Servs., Community Service Standards, available at http://
     www.criminaljustice.ny.gov/ opca/ communityservicestandards.htm. (last visited Aug. 14, 2016).
174. See generally William R. Wood, Correcting Community Service: From Work Crews to Community Work in
     a Juvenile Court, 29 Justice Quarterly 684 (2012).
175. Id.
176. Editorial Board,A Counter-Productive Fee, Baltimore Sun, Apr. 18, 2011, available at http://arricles
     .baltimoresun.com/2011-04-18/news/
     bs-ed-parole-20110418_l __fee-parole-and-probation-prisoner.
177. See, e.g., Lauren-Brooke Eisen, Charging Inmates Perpetuates Mass Incarceration, Brennan Ctr. for Jus-
     tice (2015), available at https ://www.brennancenter.org/sites/ default/files/blog/Charging_
     Inmates_Mass_Incarceration.pdf; Am. Civil Liberties Union of Ohio, In Jail & In Debt: Ohio's
     Pay-to-Stay Fees (2015), available at http://www.acluohio.org/wp-content/uploads/2015/ll/
     InJailJ nDebt.pdf.
178. Lisa Riordan Seville & Hannah Rappleye, Sentenced to Debt: Some Tossed in Prison Over Unpaid Fines,
     NBC News (May 27, 2013, 12 :43 AM), available at http://inplainsight.nbcnev,rs.



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           com/_news/2013/05/27/18380470-sentenced-to-debt-son:1e-tossed-in-prison-over-unpaid-
           fines ?lite (describing examples of individuals in Washington and Pennsylvania could not obtain
           the expungement necessary to continue in their chosen line of work solely because of their inabil-
           ity to pay debts owed to a court).
     ·179. See, e.g., Maura Ewing, :Want to Clear Your Record? It'll Cost You $450, The Marshall Project (May 31,
           2016), available at https://www.themarshallproject.org/2016/05/31/want-to-clear-your-record-
           ir-ll-cost-you-450#.kEple42d4.
     180. Frederickson & Lassiter, supra note 15, ac 5.
     181. See Erika Wood, Brennan Ctr. For Justice, Restoring the Right to Vote, 9-11 (2009), available at http://
           www.brennancenrer.org/sires/default/files/legacy/Democracy/Rcstoring%20the%20Right%20
           to%20Vote.pdf.
     182. See, e.g., California Courts, Traffic Tickets/ Infractions Amnesty Program, (Feb. 21, 2016), available at
           http://www.courts.ca.gov/trafficamnesty.htm; see also Iowa Legislative Servs. Agency, Court Debt
           Collection Programs and Outstanding Court Debt 2 (Mar. 17, 2014 ), available at https://www.legis.iowa.
           gov/ docs/publication s/IR/25246. pdf
     183. See Stacey Hoskins Haynes, et al.,]uvenile Economic Sanctions, 13 Criminology & Pub. Pol'y 31 (2014).
     184. Id. at 43.
     185. The Pennsylvania study found that approaches to collection varied based on county. In one county,
           collection attempts ended when the juvenile turned 18. In another county, juveniles were referred
           ro adult probation after they turned 18 and in the third county, collection efforts only occurred if
           the juvenile re-entered the criminal justice system as an adult. Id. at 55.                         ·
     186. See Jessica Feierman et al., Juvenile Law Ctr., Debtors' Prison for Kids?: The High Cost ofFines and Fees in
           the Juvenile Justice System (2016), available at http://debtorsprison.jlc.org/ documents/JLC-
           Debtors-Prison.pdf                                                                                ·
     187. Id.
     188. Id.
     189. See Jeffrey Selbin & Stephanie Campos, Berkeley Law Policy Advocacy Clinic, High Pain, No Gain:
           How Juvenile Administrative Fees Harm Low-Income Families in Alameda County, Californi~ (Mar. 2016).
     190. 193. S. Res. 941 (Cal. 2016).
     191. 194. H.R. Res. 1481, Reg. Sess. (Wash.2015).
     192. See Michigan Supreme Court, Order No. 2015-12 (May 25, 2016), available at http://courts.mi.gov/
           Courts/MichiganSupremeCourt/rules/court-rules-admin-matters/Court%20Rules/2015-12_
           2016-05-25 _formatted% 2 0 order_var iou s%2 0 MC Rs-ab i l i ty%2 Oto% 2 0pay. pdf.
     193. As an example, the Superior Court in San Diego County, California has implemented a Homeless
           Court Program, where the court is empowered to forgive fines/fees if defendants participate in
           programing. Thompson & McLean, supra note 128, at 37.
     194. Coal. for the Homeless, Homeless Court (2016), available at http://www.homelesshouston.org/
           homeless-court/homeless-court-derails.
     195. 198. See, e.g., Ohio Rev. Code§ 131.02 (2012).
     196. 199. SeeSheriffv. Gillie, 136 S. Ct. 1594, 194 L.Ed.2d 625 (2016).
     197. See Pew Research Ctr. supra, note 6.
     198. States' attorneys general often have broad authority to take civil rights enforcement action, includ-
           ing investigating and shining a spotlight on unconstitutional practices by municipalities. For
           example, the New York Office of Attorney General investigated the New York Cfry Police Depart-
           ment's use of stop and frisk under their authority to enforce state and federal civil rights law. See
           New York State Office of Attorney General, Stop and Frisk Report (1999), available at http://www.
           oag.srate.ny.us/sites/default/files/ pdfs/bureaus/civil_rights/ stp_frs k. pdf [hereinafter Stop and
           Frisk Report].
     199. See, e.g., In fora Penny, supra note 15, at 5.



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200. Ferguson Report, supra note 7, at 3.
201. See, e.g., Note, State Bans on Debtors' Prisons and Criminal Justice Debt, 129 Harv. L. Rev. 1024, 1025
      (2016); Alec Karakatsanis, Policing, Mass Imprisonment, and the Failure ofAmerican Lawyers, 128 Harv.
      L. Rev. 253,254 (2015).
202. See, e.g., In for a Penny, supra note 15, at 5.
203. Bearden v. Georgia, 461 U.S. 660, 672-73 (1983). Prior to Bearden, the Court had held that in proba-
      tion revocation hearings, judges are required to inform defendants that they have the right to
      request counsel and fundamental fairness may require that counsel be appointed in certain cases.
      Gagnon v. Scarpelli, 411 U.S. 778, 790-91 (1973) (holding chat a probation revocation hearing is
      required under the Due Process Clause and that courts must determine on a case-by-case basis
      whether the appointment of counsel is necessary to satisfy due process).
204. Tate v. Short, 401 U.S. 395, 398 (1971).
205. See id. at 400.
206. Turnerv. Rogers, 564 U.S. 431,449 (2011).
207. Id. at 447.
208. Id. at 447-48.
209. Id. at 449 ("We do not address civil contempt proceedings where the underlying chlld support pay-
      ment is owed to the State, for example, for reimbursement of welfare funds paid to the parent with
    . custody. Those proceedings more closely resemble debt-colle"ction proceedings. The government is
      likely to have counsel or some other competent representative.") (internal citations omitted).
210. For example, Colorado recently enacted a statute that defines "undue hardship" as follows:
      a defendant or a defendant's dependents are considered to suffer undue hardship ifhe, she, or they
      would be deprived of money needed for basic living necessities, such as food, shelter, clothing,
      necessary medical expenses, or child support. In determining whether a defendant is able to
      comply with an order to pay a monetary amount without undue hardship to the defendant or the
      defendant's dependents, the court shall consider:
          (I) Whether the defendant is experiencing homelessness;
          (II) The defendant's present employment, income, and expenses;
          (III) The defendant's outstanding debts and liabilities, both secured and unsecured;
          (IV) Whether the defendant has qualified for and is receiving any form of public assistance,
          including food stamps, temporary assistance for needy families, medicaid, or supplemental
          security income benefits;
          (V) The availability and convertibility, without undue hardship to the defendant or the defen-
          dant's dependents, of any real or personal property owned by the defendant;
          (VI) Whether the defendant resides in public housing;
          (VII) Whether the defendant's family income is less than two hundred percent of the federal
          poverty line, adjusted for family size; and
          (VIII) Any other circumstances that would impair the defendant's ability to pay. Colo. Rev. Stat.
          § 18-1.3-702(4).
211. For example, under Rhode Island law the following conditions constitute prima fdcie evidence of
      the defendant's limited ability to pay criminal justice debt: "(1) Qualification for and/or receipt of
      any of the following benefits or services by the defendant: (i) temporary assistance to needy families;
      (ii) social security including supplemental security income and state supplemental payments pro-
      gram; (iii) public assistance; (iv) disability insurance; or (v) food stamps." R. I. Gen. Laws§ 12-20-
      10(6). Similarly, for misdemeanor probationers, Georgia law includes a presumption in favor of
      modifying fines for an "indigent" person, defined as "an individual who earns less than 100 per-
      cent of the federal poverty guidelines" unless the person has assets that could be used without
      undue hardship. Ga. Code Ann. § 42-8-102(c)-(e). Illinois's Statutory Court Fee Task Force
      released a report inJune 2016 proposing major changes to the state's criminal justice debt statutes,



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          including a recommendation that when court-appointed criminal defense attorneys certify that
          their clients are indigent, certain fees are waived. See Statutory Court Fee Task Force, Illinois Court
          Assessments: Findings and Recommendations for Addressing Barriers to Access to Justice and Additional issues
          Associated with Fees and Other Court Costs in Civil, Criminal, and Traffic Proceedings, App. E -Proposed
          Criminal Assessment Waiver Statute, Sec. 3-9(f) (June 2016), available at http://www.illinoiscourts.
          gov/2016_ Statutory_ Court __ Fee_Task_Force_Report. pdf
     212. For example, a woman described in the Ferguson Report owed over $2,500 in fines and fees to
          three different municipalities and had already paid over $1,000 in order to resolve ocher criminal
          cases. Ferguson 8-eport, supra note 7, at 52.
     213. See, e.g., Stipulated Settlement Agreement and Retention of Jurisdiction at 4-5, Kennedy v. City of
          Biloxi, No. 1:15-cv-00348-HSO-JCG (S.D. Miss. Mar. 15, 2016), available at https://www.aclu.org/
          sites/default/files/field_document/final_stipulated_settlement_agreement_exhibit_a_exhibit
          _b ___ 03152016_ 0.pdf[hereinafter Stipulated Settlement Agreement] (agreeing to default procedure
          of audio recording compliance hearings that include ability-to-pay determinations; in the event
          audio recording is not possible, court must document in writing the ability-to-pay determination,
          including the finding, evidence to support said finding, and the colloquy concerning ability to pay
          and efforts to secure resources among other items).
     214. See, e.g., Diller, supra note 65, at 8 (finding that"[ a]s a result of the lack of waivers for the indigent,
          communities invest significant resources pursuing debts that will never be collected"); Ferguson
          Report, sup1·a note 7, at 99; Am. Law Inst., Model Penal Code: Sentencing Tentative Draft No. 3, 55 (Apr.
          24, 2014 ), available at https://www.ali.org/ projects/show/ sentencing/ (prohibiting criminal jus-
          tice debt of a magnitude beyond an individual's means from being imposed at all).
     215. Some state courts have held that an ability-to-pay determination is required by the state constitu-
          tion at the imposition stage when a state seeks to recoup the cost of court-appointed counsel. See,
          e.g., State v. Morgan, 173 Vt. 533 (2001) (finding that the Sixth Amendment requires an ability to pay
          determination before a defendant can be charged for the cost of counsel); People v. Love, 687 N.E.2d
          32 (Ill. 1997) (vacating a reimbursement order because the court failed to conduct a hearing and
          inquire into ability to pay). Similar protections have also been implemented to resolve constitu-
          tional litigation. The March 2016 settlement reached by the American Civil Liberties Union with
          the city of Biloxi, Mississippi regarding the city's criminal justice debt practices mandates that the
          Biloxi Municipal Court consider a defendant's ability to pay when determining the amount of
          criminal justice debt to impose. See, e.g., Stipulated Settlement Agreement, supra note 213, ac 6.
     216. See, e.g., Agreement to Settle Injunctive and Declaratory Relief Claims, Mitchell v. City ofMontgomery,
          No. 2:14-cv-186-MHT-CSC at 11 (M.D. Ala. Nov. 17, 2014), available at http://equaljusticeunderlaw
          .org/wp/wp-content/uploads/2014/07/Final-Settlernent-Agreement.pdf (listing subsequent
          hearings based on a defendant's changed financial circumstances as a "basic premise" of the settle-
          ment). Similarly, Rhode Island Senate Bill 2234/House Bill H8093 (2008) provides that a defen-
          danr's ability to pay and a payment schedule should be determined through "standardized
          procedures including a financial assessment instrument" and that court determinations should
          be updated in light of new financial information.
     217. Stipulated Secrlemenc Agreement, supra note 216, at 37.
     218. Id. at 6.
     219. id.at37.
     220. Id.
     221. id. at 6.
     222. See, e.g., Tex Code Crim. Proc. art. 43.09 (a) ("When a defendant is convicted of a misdemeanor and
          his punishment is assessed at a pecuniary fine or is confined in a jail after conviction of a felony
          for which a fine is imposed, ifhe is unable to pay the fine and costs adjudged against him, ... if there be no
          such county jail industries program, workhouse, farm, or improvements and maintenance



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      projects, he shall be confined in jail for a sufficient length oftime to discharge the full amount of.fine and costs
     adjudged against him")(emphasis added).
223. See, e.g., Cal. Penal Code§ 1205(6) ("If time has been given for payment or it has been made payable
      in installments, the court shall, upon any default in payment, immediately order the arrest ofthe defen-
     dant and order him or her to show cause why he or she should not be imprisoned. If the fine, resti-
      tution order, or installment, is payable forchv.rith and it is not so paid, the court shall without further
     proceedings, immediately commit the defendant to the custody ofthe proper office to be held in custody until the
     fine or the installment thereof, as the case may be, is sat.isfied in full") (emphasis added); La. Code Crim.
      Proc. Ann. art. 884 (1968) ("If a sentence imposed includes a fine or costs, the sentence shall pro-
     vide that in default of payment thereof the defendant shall be imprisoned for a specified period
      not to exceed one year; provided that where the maximum prison sentence which may be imposed
      as a penalty for a misdemeanor is six months or less, the total period of imprisonment upon con-
     viction of the offense, including imprisonment for default in payment of a fine or costs, shall not
      exceed six months for that offense").
224. See Iowa Code § 909. 7 ("A defendant is presumed to be able to pay a fine. However, if the defendant
      proves to the satisfaction of the court that the defendant cannot pay the fine, the defendant shall
      not be sentenced to confinement for the failure to pay the fine.").
225. See, e.g., People v. Cook, 407 N.E.2d 56, 61 (Ill. 1980) (finding that presumption chat posting of bail
      demonstrated an ability to pay could not subst.itute for a due process hearing to determine if a
      defendant was indigent).
226. See, e.g., State v. Taylor, 166 P.3d 118, 126 (Ariz. Ct. App. 2007) (rejecting a determination of a defen-
      dant's ability to pay based upon a defendant's imputed income, namely their "apparent ability to
      work in the future," and indicating that only present resources should be considered).
227. See, e.g., Note, State Bans on Debtors' Prisons and Criminal Justice Debt 129 Harv. L. Rev. 1024, 1025
      (2016); deVuono-powell, et al., supra note 15.
228. See, e.g., Stipulated Settlement Agreement, supra note 213, at 15.
229. See id.
230. See, e.g., Supreme Court of Ohio, Collection of Fines and Court Costs in Adult Trial Courts (Sept. 2015),
      available at https://www.supremecourt.ohio.gov/Pub1ications/JCS/finesCourrCosts.pdf.
231. See Ferguson Report, supra note 7, at 55.
232. See ACLU of Colorado, Letter to ChiefJustice Michael Bender, Re: Incarceration ofIndigent Defendants
     for Failure to Pay Legal Debts 5 (Oct. 10, 2012), available at http://static.aclu-co.org/wp-content/
      uploads/2013/12/2012-10-10-Bender-Dailey-Wallace.pdf.
233. See Agreement to Settle Injunctive and Declaratory Relief Claims at 14, Mitchell v. City ofMontgom-
      ery, No. 2:14-cv-186-MHT-CSC(M.D. Ala. Nov. 17, 2014), available at http://equaljusticcunderlaw
      .org/wp/wp-content/uploa:ds/2014/ 07/Final-Sertlement-Agreement.pdf.
234. Michigan State Planning Body, Implementing Crossroads: A Proposal for Evaluating Ability to Pay Fines,
      Fees and Costs (Reissued May 2015), Attachment B.
235. See Ohio State Bar Assn. v. Goldie, 119 Ohio St.3d 428, 431 (2008) ("Respondent concedes that she
      followed none of the procedures required to determine Webb's ability to pay assessed fines before
      sending him to jail. She also concedes that she 'knowingly failed to follow the law' and that her
      failure violated Canon 3(B)(2). We therefore find this judicial misconduct."). The Southern Poverty
      Law Center took similar action against an Alabama judge who forced defendants who were unable
      to pay court debt to donate blood or face jail time. See Southern Poverty Law Ctr.,]udge Who Forced
      Defendants to Give Blood or Go to Jail Censured After SPLC Complaint (Jan. 21, 2016), available at https ://
      www.spkenter.org/news/2016/0l/21/judge-who-forced-defendanrs-give-blood-or-go-jail-censured
      -after-splc-complaint.
236. See, e.g., Daniel Morales, Texas Attorney General, Opinion DM-407, 2237 (1996), available at htrps://
      www.tcxasartorneygeneraI.gov/ opinions/ opinions/ 48morales/ op/ 1996/pd(/ dm040 7. pd f



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          (emphasizing that the imposition of certain criminal justice debt is discretionary).
     237. See, e.g., Arizona Attorney General, AG Opinions (last visited March 8, 2016), available at https://
          www.azag.gov/ag-opinions (Arizona Attorney General opinions issued only to the legislature,
          any public officer of Arizona, or a county attorney. Private citizens may not seek an opinion or
          other legal advices.); Cal. Gov. Code§ 12519 (California Attorney General opinions restricted to
          member oflegislature, governor, lieutenant governor, secretary of state, controller, treasurer, state
          lands commission, superintendent of public instruction, insurance commissioner, any state
          agency, and any county counsel, district attorney, or sheriff upon any question of law relating to
          their respective offices. Private citizens do not have standing.); Tex Gov't Code § 402.042 (state
          attorney general opinion may be requested only by: (1) the governor; (2) the head of a department
          of state government; (3) a head or board of a penal institution; (4) a head or board of ai:i eleemosy-
          nary institution; (5) the head of a state board; (6) a regent or trustee of a state educational institu-
          tion; (7) a committee of a house of the legislature; (8) a county auditor authorized by law; or (9)
          the chairman of the governing board of a river authority. Private citizens do not have standing).
     238. See, e.g., Alan Wilson, Attorney General of South Carolina, Letter re: Indigent Defense, (Nov. 12, 2015),
          available at http://www.scag.gov/wp-content/uploads/201S/11/Rya~-H.-OS-9925-FINAL-
          Opinion-11-12-2015-00797179xD2C78.pdf (South Carolina Attorney General opinion issued to
          Deputy Director and General Counsel of South Carolina Commission on Indigent Defense).
     239. See, e.g., supra note 198 (citing Stop and Frisk Report).
     240. Carl Reynolds, et al., Council of Stace Govts. Justice Ctr. & Tex. Office of Court Admin., Interim
          Report A Framework to Improve How Fines, Fees, Restitution, and Child Support Are Assessed and Collected from
          People Convicted of Crimes, 21 (March 2, 2009) (describing the system of user fees and surcharges in
          Texas as a "nearly incomprehensible package chat is difficult for court systems to administer").
     241. Standards Relating to Court Costs supra note 51, at 7 (June 1986) ("Administrative costs rise with a
          proliferation of court fee statutes spread over many volumes of law. Revenue for governmental
          entities is lost as a result of oversights or failure to keep abreast of legislative enactments").
     242. See ACLU of Washington, Modern Day-Debtors' Prison: How Court-Imposed Debts Punish Poor People in
          Washington, 20 (2014).
     243. See Michigan State Planning Body, Implementing Crossroads: A P·roposal for Evaluating Ability to Pay
          Fines, Fees and Costs, 24 (reissued May 2015).
     244. Mich. Comp. Laws Ann.§ 769.lk(8); § 780.905(7)(6) (2016).
     245. S.D. Codified Liws § 1-55-16.
     246. Statutory Court Fee Task Force, Illinois Court Assessments: Findings and Recommendations for Addressing
          Barriers to Access to justice and Additional Issues Associated with Fees and Other Court Costs in Civil, Crimi-
          nal, and Traffic Proceedings (June 2016), available at ht:tp://www.illinoiscourrs.gov/2016_Sratutory_
          Court_Fee_Task_Force_R.eport.pclf.
     247. Standards Relating to Court Costs, supra note 52, at Standard 2.5 (June 1986).
     248. Special Comm'n to Study the Feasibility of Establishing Inmate Fees, Inmate Fees as a Source of
          Revenue: Review of Challenges, 3 (July 1, 2011), available at http://www.mass.gov/eopss/docs/eops/
          inma te-fee-final-7-1-11. pd f
     249. Id. at 5.
     250. id. at 4.
     251. Michael Leach man, et al., Improving Budgetary Analysis of State Criminal Justice Reform: A Strategy for
          Better Outcomes and Saving Money 8 (2012); Thompson & McLean, supra note 128, at 34.
     252. Leachman et al., supra note 251, at 7.
     253. Id.
     254. See, e.g., 5 Ill. Comp. Stat. 140/2 (2010); Copley Press, Inc. v. Administrative Office of Courts, 648 N.E.2d
          324 (Ill. App. Ct. 1995); Mich. Comp. Laws Ann. § 15.232(d)(v) (2015); Tex. Gov't Code Ann. §§
          552.003(l)(B), 552.0035 (2009). See generally Nat'! Ass'n of Counties, Open Records Laws: A State by



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      State Report (Decem_ber 2010), available at http://www.naco.org/sites/default/files/d.ocuments/
      Open%20Records%20Laws%20A%20State%20by%20State%20Report.pdf.
255. See, e.g., Missouri Municipal Division Work Group, supra note 46, at 10.
256. See, e.g., Wash. Rev. Code. § 9.94A.760.
257. 260. See, e.g., Ga. Code Ann. § 15-13-31.
258. S. 287, 84th leg. (Tex. 2015) (codified at Tex. Code Crim. Proc. Art. 103.001).
259. See Human Rights Watch, supra note 61.
260. 263. See, e.g., Cal. Penal Code§ 1205, § 1463.007, § 1463.010 (1998) (California); Fla. Stat. Ann. §
      938.35; Tenn. Code Ann. § 40-24-105, § 40-28-205; Wash. Rev. Code§ 3.02.045, § 9.94A.760; §
      36.18.190; Nev. Rev. Stat. § 176.064; Tex. Code Crim. Proc. Ann. Art 103.0031; Ga. Code Ann. §
      15-21-12 (2014); Ala; Code§ 12-17-225.7; Miss. Code Ann.§ 19-3-41(2) (2013); Mont. Code Ann.§
      46-17-402 (2005).
261. See, e.g., M.S.L.]., Payingfor Poverty, The Economist, April 25, 2015, available at http://www.
      economist.com/blc,gs/democracyinamerica/2015/04/private-probation-firms.
262. H.R. 310, Reg. Sess. (Ga. 2015) (codified at Ga. Code Ann§ 42-8-108). The Board of Community
      Supervision is made up of the commissioner of corrections, the commissioner of juvenile justice,
      the chairperson and vice chairperson of the State Board of Pardons and Paroles, director of the Divi-
      sion of Family and Children Services of the Department of Human Services, and commissioner of
      behavioral health and developmental disabilities, a sheriff, a mayor o~ city manager, a county com-
      missioner or county manager, and "[a]n individual who owns or is employed by a private corpora-
      tion? priv.ate enterprise, private agency, or other private entity that is providing probation
      supervision services." S. 367, Reg. Sess. (Ga. 2016).
263. 266. Ga. Code Ann. § 42-8-108 (2010).
264. Rhode Island Family Life Ctr., Court Debt and Related Incarceration in Rhode Island, 29 (May 2007),
      available at https://csgjusticecenter.org/wp-content/uploads/2013/07/2007-Rl-Family-Life-
      Center.pdf. (citing inconsistent record keeping across jurisdictions).
265. See, e.g., North Carolina Adm in. Office of the Courts, Court Costs and Fees Chart (Oct. 2015), http://
      www.nccourts.org/Courts/Trial/Documents/court_costs_chart-Oct2015-criminal.pdf; Wis-
      consin Court System, Wisconsin Circuit Court Fee, Forfeiture, Fine and Surcharge Tables (Jul. 14, 2015),
      available at htrps://www.wicourts.gov/courts/circuit/d.ocs/fees.pdf; Mass. Trial Court Dist.
      Court Dep't, Potential Money Assessments in Criminal Cases (revised Dec. 2015), available at http://
      w\vw.mass.gov/courts/d.ocs/courts-and.-judges/courcs/districc-court/potential-moneyassessment ·
      -criminalcases.pdf
266. See, e.g., City ofTucson, Tucson City Court: Frequently Asked Questions (2016), available at https://www.
      tucsonaz.gov/courts/freguently-asked-questions; Maine Judicial Branch, Ad.min. Office of the
      Courts, Court Fines & Fees: Frequently Asked Questions (last visited 2016), available at https://wwwlO.
      informe .org/ cou rrs/fi nes/faq/; Stipulated Settlement Agreement, supra note 216 (mandating lan-
      guage for the website of the Biloxi Municipal Court).
267. Supreme Court of Colorado, Directive Concerning the Assessment and Collection of Statutory Fines, Fees,
    · Surcharges and Costs in Criminal,]uvenile, Traffic and Misdemeanor Cases, Directive 85-31 (Augt1st 2011),
      available at https://www.courts.statc.eo.us/Courts/Supreme __ Courr/Directives/85-31 %20
      Amended%208-19-l 1.pdf.
268. See Commonwealth ofVirginia, Auditor of Public Accounts, Review ofVirginia Courts Management of
      Unpaid Fines and Costs, Special Report (November 20, 2000), available at http://w,"·w.apa.state.va.us/
      reports/fines00.pdf.




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